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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK



 JANE DOE and SALLY ROE (pseudonyms)                  )
                                                      )
                             Plaintiffs,              )
                                                      )
                        v.                            )
                                                      )
 COUNTY OF WESTCHESTER;                               )
                                                      )        Case No.
 GEORGE LATIMER, Chief Executive of the               )
 County of Westchester, in his official capacity;     )
                                                      )
 COUNTY OF WESTCHESTER COUNTY                         )
 DEPARTMENT OF PUBLIC SAFETY;                         )
                                                      )
 TERRANCE RAYNOR, acting Commissioner                 )
 of the Westchester Department of Public Safety,      )
 in his official capacity;                            )
                                                      )
 NEW ROCHELLE POLICE DEPARTMENT;                      )
                                                      )
 CITY OF WHITE PLAINS DEPARTMENT                      )
 OF PUBLIC SAFETY,                                    )
                                                      )
                              Defendants              )



                                    VERIFIED COMPLAINT

       Plaintiffs herein, proceeding under pseudonyms for the reasons set forth below, complain

of the Defendants as follows:

                                      NATURE OF ACTION

       1.     This action by two pro-life sidewalk advocates and counselors seeks injunctive and

declaratory relief from provisions of Chapter 425 of the Laws of Westchester County, adopted by

the Westchester County Board of Legislators and signed into law by the defendant Chief Executive
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of Westchester County, George Latimer, on June 28, 2022 (hereafter referred to in the aggregate

as “Chapter 425”).

       2.     As more particularly alleged below, the pretext for adoption of the challenged

provisions of Chapter 425 was a peaceful sit-in on November 27, 2021 at a Westchester County

medical facility that provides abortions, conducted by a Franciscan friar and Catholic priest, Father

Christopher Moscinski, and two laymen who hand out roses to women contemplating abortions

with a note attached that says: “You were made to love and be loved … Your goodness is greater

than the difficulties of your situation. Circumstances change. A new life, however tiny, brings the

promise of unrepeatable joy.” 1

       3.     As shown below, the challenged provisions of Chapter 425 have nothing to do with

preventing this kind of trespass as a form of civil disobedience – the same kind of peaceful civil

disobedience exercised during the civil rights movement of the Sixties2 – for which Father

Moscinksi and the two laymen involved have most recently been convicted and sentenced to jail

under pre-existing laws—a penalty they were fully prepared to accept. 3 Rather, as the text of

Chapter 425 and its legislative history demonstrate, the challenged provisions—including “buffer”




1
  See “Priest, pro-lifers sentenced to three months in jail for counseling women inside abortion
center” @ https://www.lifesitenews.com/news/priest-pro-lifers-sentenced-to-three-months-in-
jail-for-counseling-women-inside-abortion-center/?utm_source=daily-usa-2022-08-
03&utm_medium=email
2
  Cf. Dr. Martin Luther King, Jr. “Letter from a Birmingham Jail” (“The answer lies in the fact
that there are two types of laws: just and unjust. I would be the first to advocate obeying just
laws. One has not only a legal but a moral responsibility to obey just laws. Conversely, one has a
moral responsibility to disobey unjust laws. I would agree with St. Augustine that ‘an unjust law
is no law at all.’ Now, what is the difference between the two? How does one determine whether
a law is just or unjust? A just law is a man made code that squares with the moral law or the law
of God. An unjust law is a code that is out of harmony with the moral law. To put it in the terms
of St. Thomas Aquinas: An unjust law is a human law that is not rooted in eternal law and
natural law.”
3
   Id.
                                                 2
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and “bubble” zones enforced by criminal penalties—were specifically designed to suppress speech

and expressive conduct on public sidewalks and rights-of-way by the Plaintiffs and other pro-life

advocates and counselors, who have never trespassed at any abortion clinic nor committed any

other crime in connection with their peaceable First Amendment-protected activity.

                                    JURISDICTION AND VENUE

       4.     This action arises under the First and Fourteenth Amendments to the United States

Constitution and is brought pursuant to 42 U.S.C. § 1983. This action also arises under federal

statutory laws, namely 42 U.S.C. § 1985(3) and 42 U.S.C. § 2000e-2.

       5.     This Court has jurisdiction over the instant matter pursuant to 28 U.S.C. §§ 1331 and

1343. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because all the defendants

reside in this District and a substantial part of the events or omissions giving rise to Plaintiffs’

claims occurred in this District.

       6.     This Court is authorized to grant declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. §§ 2201–02, implemented through Fed. R. Civ. P. 57.

       7.     This Court is authorized to grant Plaintiffs’ prayer for temporary, preliminary, and

permanent injunctive relief pursuant to Rule 65 of the Federal Rules of Civil Procedure.

       8.     This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,

including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.

                                            PARTIES

       9.     Plaintiff JANE DOE is a pro-life sidewalk advocate and counselor who resides in

this judicial district. For the reasons stated below, Plaintiff JANE DOE has initiated this suit

pseudonymously.




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        10.   Plaintiff SALLY ROE is a pro-life sidewalk advocate and counselor who resides in

this judicial district. For the reasons stated below, Plaintiff SALLY ROE has initiated this suit

pseudonymously.

        11.   Defendant COUNTY OF WESTCHESTER is a duly incorporated county of the

State of New York, whose local law Chapter 425 is the subject of this lawsuit seeking injunctive

and declaratory relief as well as nominal damages.

        12.   Defendant GEORGE LATIMER is the Chief Executive of the County of

Westchester, who signed Chapter 425 into law, is responsible for its enforcement and has the

authority to issue enforcement directives to the County’s municipal police departments. He is sued

in his official capacity.

        13.   Defendant COUNTY OF WESTCHESTER DEPARTMENT OF PUBLIC

SAFETY is the law enforcement agency of Westchester County, which operates under the direct

authority of Defendant Latimer, who appoints its head.

        14.   Defendant TERRANCE RAYNOR is acting Commissioner of the Westchester

Department of Public Safety and is responsible for enforcement of Chapter 425. He is sued in his

official capacity.

        15.   Defendants NEW ROCHELLE POLICE DEPARTMENT and the CITY OF

WHITE PLAINS DEPARTMENT OF PUBLIC SAFETY are the municipal law enforcement

agencies charged with enforcement of Chapter 425 under the direction of Defendants Latimer and

Raynor.

        16.   All defendants are “persons” within the meaning of 42 U.S.C. § 1983, and all have

acted, or will act, under color of state law as to the matters alleged herein.




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                        FACTS AND LEGAL BACKGROUND

                             THE NEED FOR PSEUDONYMITY

       17.   This suit arises in the context of the leaking of the draft opinion in Dobbs v. Jackson

Women’s Health Org., 142 S. Ct. 2228, 2234 (2022), overruling Roe v. Wade, on May 2, 2022,

and the handing down of that opinion by the Court in final form on June 24, 2022.

       18.   As shown in Plaintiffs’ Motion for Leave to Proceed Pseudonymously, to be filed

expeditiously, the leaking and final publication of the opinion in Dobbs was followed by the

“doxing” of Justices Alito, Barrett, Gorsuch and Kavanaugh, the unprecedented massing of

demonstrators in front of the Justices’ homes to curse, revile and intimidate them in violation of

18 U.S.C. § 1507, an attempt on the life of Justice Kavanaugh, and publication of the addresses

of the schools attended by Justice Kavanaugh's and Justice Barrett’s children.

       19.   As further shown in Plaintiffs’ Motion, the targeting of Supreme Court Justices has

been accompanied by an orchestrated nationwide campaign of violence, threats of violence and

vandalism against pro-life organizations and individuals under the motto “If abortions aren’t safe,

neither are you.” 4

       20.   One of the victims of this anarchist campaign is attorney Thomas Brejcha, President

of Thomas More Society, a pro-life national public interest law firm whose undersigned special

counsel represents the Plaintiffs herein. On July 1, 2022, 40-50 masked demonstrators belonging

to a group that calls itself “Reproductive Justice Union” attacked attorney Brejcha’s home after

circulating a “doxing” poster identifying attorney Brejcha as a target:


4
  See, e.g., https://www.foxnews.com/us/miami-pro-life-clinic-vandalized-abortions-arent-safe-
neither-are-you; https://twitter.com/nytimes/status/1523626376330362880?lang=en;
https://www.wsfa.com/2022/06/25/vandals-hit-vermont-statehouse-if-abortions-arent-safe-youre-
not-either/; https://www.kktv.com/2022/06/27/fire-colorado-pregnancy-center-being-
investigated-arson-wake-roe-v-wade-reversal/;
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       21.   The masked demonstrators dropped loud smoke bombs, surged onto the lawn, and

hurled paint bombs at the brick front of the Brejchas’ house, porch, and door, staining the property

with green paint, uprooted a rose bush, and inked the sidewalk and driveway with “F” words,

anarchist symbols (circled capital “A”), and slogans, including “No Gods, No Rulers,” and “Abort

the Supreme Court.” While the demonstrators were finally ordered by police to disperse after they

had trespassed and vandalized the Brejcha family’s private property, no arrests were made.

       22.   As explained more fully in the accompanying Motion, given the current climate of

anti-prolife violence provoked by the Dobbs decision, Plaintiffs reasonably fear that because they

have brought this suit, which will attract considerable publicity, they too will be “doxed” and that

their homes, businesses and family members will likewise be subjected to force, threats of force,

violence, trespass, vandalism, and other unlawful activity in retaliation.

       23.   This case involves purely legal issues that do not require public revelation of

Plaintiffs’ identity even if it would be revealed in discovery under seal.

       24.   If those who are perpetrating violence, threats of violence and vandalism are allowed

to hide their identities behind masks while they terrorize their victims, including Justices of the

Supreme Court and the head of the very public interest law firm that is providing pro bono

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representation to Plaintiffs, then Plaintiffs as potential victims should be allowed the safety of

anonymity.

              PLAINTIFFS’ FIRST AMENDMENT-PROTECTED SPEECH

                           Plaintiff Jane Doe’s Sidewalk Counseling

       25.   Plaintiff JANE DOE, a retired schoolteacher, has been engaged in pro-life sidewalk

counseling and related pro-life advocacy for approximately 23 years at Planned Parenthood

abortion clinics located in Westchester County.

       26.   Plaintiff JANE DOE is motivated by her sincere religious belief as a Catholic that

abortion is the direct and wrongful taking of innocent human life, an intrinsic evil that cannot be

justified under any circumstances.

       27.   Plaintiff JANE DOE’s religious belief, which informs her conscience, compels her

to oppose and publicly advocate and counsel against abortion. Her conscience compels her to

encourage expectant mothers, face-to-face, to choose life for their unborn child.

       28.   Plaintiff JANE DOE’s First Amendment-protected activity consists of praying the

Rosary on the public sidewalk immediately adjacent to the entrance of a Planned Parenthood

facility in Westchester County in order to bear witness against abortion. She also peacefully

approaches expectant mothers and others going to or leaving the facility in order to engage in a

short, quiet conversation, at a normal conversational distance, while offering literature concerning

the alternatives to abortion, including adoption or financial, medical and housing assistance if an

expectant mother contemplating an abortion elects not to abort her child. See photographs of

facility and adjacent public sidewalk at Exhibit A hereto. Samples of the handouts employed by

Plaintiff JANE DOE are annexed hereto as Exhibit B and made part hereof.

       29.   On occasion, when JANE DOE engages in pro-life advocacy and counseling, she also


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holds a pro-life sign containing a pro-life message such as “Choose Life” or some similar message.

       30.   Plaintiff JANE DOE recognizes that the moments before expectant mothers enter or

leave a Planned Parenthood facility are the last best hope of encouraging them to seek an

alternative to abortion if they have not yet undergone the procedure, and that in those moments it

is crucially important to be able to approach these women in order to engage in quiet conversation

rather than shouting pro-life slogans or merely holding a sign at a distance. JANE DOE believes

many women are being coerced into decisions they might regret for their rest of their lives. She is

offering information and assistance for an informed choice, including the many possibilities

available to women who fear they cannot support a child.

       31.   Plaintiff has also, from time to time, engaged in pro-life advocacy on the sidewalk

near the entrance to another Planned Parenthood facility in Westchester County in connection with

a national prayer movement whose aim is peacefully and prayerfully to bring an end to legalized

abortion in America. That advocacy also consists of praying the Rosary and conversing and

offering literature on alternatives to abortion to those approaching or leaving the facility.

       32.   As more particularly pleaded below, the challenged provisions of Chapter 425 have

made Plaintiff Jane Doe’s pro-life advocacy and counseling impossible without the grave risk of

criminal and civil liability, and she has thus suspended her advocacy pending judicial intervention.

                   Plaintiff Sally Roe’s Sidewalk Advocacy and Counseling

       33.    Plaintiff SALLY ROE, a Catholic school catechism teacher who is married with

children, has been in engaged in sidewalk pro-life advocacy and counseling at Planned Parenthood

abortion clinics in Westchester County for approximately eight years.

       34.   Like Plaintiff JANE DOE, Plaintiff SALLY ROE is motivated by her sincere

religious belief as a Catholic that abortion is the intrinsically evil direct and wrongful taking of


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innocent human life that cannot be justified under any circumstances. Plaintiff SALLY ROE’s

religious belief, which informs her conscience, compels her to oppose and publicly advocate and

counsel against abortion. Like Plaintiff JANE DOE, Plaintiff SALLY ROE believes that she

would sin by passively accepting abortion as the status quo and doing nothing to encourage

expectant mothers, face-to-face, not to commit the grave wrong of killing their own children in the

womb but to choose life instead.

       35.   Plaintiff SALLY ROE has received formal training in peaceful techniques of pro-life

sidewalk advocacy and counseling.

       36.   Like Plaintiff JANE DOE, Plaintiff SALLY ROE’s advocacy consists of praying the

Rosary, which she does on the sidewalk adjacent to a Planned Parenthood location in Westchester

County, including that portion of the sidewalk abutting the driveway leading to the facility’s

parking lot. Photographs of the facility, adjacent public sidewalk, and right-of-way crossing

driveway (taken before enactment of Chapter 425) are Exhibit C hereto. Plaintiff SALLY ROE

currently engages in this peaceful advocacy and counseling one day per week for several weeks at

a time with others, generally in the Fall and Spring, as part of a national prayer movement whose

aim is to end abortion in America. Plaintiff SALLY ROE also advocates and counsels on her own

in the manner described at various times at the same location.

       37.   Like Plaintiff JANE DOE, Plaintiff SALLY ROE peacefully approaches expectant

mothers and others going to or leaving the facility by car or on foot in order to engage in a short,

quiet conversation, at a normal conversational distance. She also offers literature relating to the

physical and psychological risks of abortion, fetal development, and alternatives to abortion,

including contact information for adoption, financial, medical and housing assistance if an

expectant mother contemplating an abortion elects not to abort her child. Samples of the handouts



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employed by Plaintiff SALLY ROE are annexed hereto as Exhibit D. Of primary concern, in

addition to the life of the unborn child, is the condition of the mother who under duress may be

pushed into decisions she might regret later in life. Plaintiff SALLY ROE is offering to provide

information and assistance that would help the mother make an informed choice and with

knowledge that life-saving alternatives with medical and financial assistance are available to her

to have her baby.

       38.   Plaintiff SALLY ROE has also offered “Blessing Bags” to persons approaching or

leaving the Planned Parenthood facility. These “Blessing Bags” contain food and other items in

addition to the aforesaid literature. The offer of food in the “Blessing Bag” is an act of kindness

that lends itself to conversation about alternatives to abortion. On occasion, Plaintiff SALLY ROE

has also offered roses to women and their companions as they approach or leave the facility as a

gesture of friendship and respect.

       39.   If a car approaching the Planned Parenthood facility stops in the public portion of the

driveway crossing the sidewalk in order to speak to Plaintiff SALLY ROE, she will walk up to the

car to speak to the occupants and offer them literature and “Blessing Bags.”

       40.   Plaintiff SALLY ROE also holds pro-life signs during her advocacy when she is not

engaging in sidewalk counseling, including a sign that states “Pray to End Abortion” and another

displaying the name and telephone number of an organization that provides various forms of

assistance to expectant mothers who elect not to proceed with an abortion. In addition, she

employs a fixed pro-life sign on the public right-of-way about 3 feet from the edge of the public

portion of the driveway leading to the Planned Parenthood facility, stating “U R ❤’D”. Samples

of the signs Plaintiff SALLY ROE employs in the course of her pro-life advocacy are annexed

hereto as Exhibit E.


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       41.      Like Plaintiff JANE DOE, Plaintiff SALLY ROE recognizes that the moments before

expectant mothers enter or leave a Planned Parenthood facility are the last best hope of

encouraging them to seek alternatives to abortion if they have not yet undergone the procedure,

and that in those moments it is crucially important to be able to approach these women in order to

engage in quiet conversation rather than shouting pro-life slogans or displaying signs from a

distance.

       42.      Plaintiff SALLY ROE’s sidewalk pro-life advocacy and counseling at the aforesaid

Planned Parenthood location is not only adjacent to the facility’s driveway on the public sidewalk,

but also less than 100 feet from the facility’s former front entrance as shown in Exhibit C and also

within the 25-foot “no follow and harass” zone. Although the former front entrance is no longer

left unlocked, a significant number of those approaching the facility attempt to use that entrance,

to which they are admitted if they knock, and Plaintiff SALLY ROE has an opportunity to counsel

women as they approach that entrance by car or on foot using the sidewalk shown in Exhibit C.

       43.      As more particularly pleaded below, the challenged provisions of Chapter 425 have

made Plaintiff SALLY ROE’s pro-life advocacy and counseling impossible without the grave risk

of criminal and civil liability, and she has thus suspended her advocacy pending judicial

intervention.

                      THE CHALLENGED PROVISIONS OF CHAPTER 425

       44.      On June 27, 2022, the Westchester County Board of Legislators voted to adopt

Chapter 425, a new section of the Laws of Westchester County. On June 28, 2022, defendant

George Latimer, Chief Executive of Westchester County, signed Chapter 425 into law.

       45.      As more particularly pleaded below, Chapter 425 is a content-based restriction on

speech whose operative terms are vague, overly broad, or both. A copy of the law as adopted



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(which has not yet been added to the online publication of the Laws of Westchester County) and

the accompanying Memorandum of the Board’s Legislative Committee, are annexed hereto as

Exhibit F.

       46.   As revealed by the legislative history of Chapter 425, set forth below, the speech

restrictions therein are justified in large part by explicit reliance in published Legislative

Committee memoranda on an erroneous vacated decision of Second Circuit in New York v. Griepp,

respecting which the Board of Legislators was wrongly advised during the drafting process that its

First Amendment holdings were good law even though it had been vacated in its entirety

approximately 11 months earlier by the same panel that had issued it.

       47.   In pertinent part, the operative provisions of Chapter 425, challenged here,

incorporating the italicized definitional provisions, are as follows:

       Sec. 425.31 Prohibited Conduct

       It shall be unlawful for any person to do the following:

       a. knowingly physically obstruct or block another person from entering into or
       exiting from the premises of a reproductive health care facility or a public parking
       lot serving a productive health care facility, in order to prevent that person from
       obtaining or rendering, or assisting in obtaining or rendering, medical treatment or
       reproductive health care services; or
                                                ….

       c. knowingly follow and harass another person within twenty-five (25) feet of (i)
       the premises of a reproductive health care facility or (ii) the entrance or exit of a
       public parking lot serving a reproductive health care facility; or

       d. knowingly engage in a course of conduct or repeatedly commit acts when such
       behavior places another person in reasonable fear of physical harm, or attempt to
       do the same, within twenty-five (25) feet of (i) the premises of a reproductive health
       care facility or (ii) the entrance or exit of a public parking lot serving a reproductive
       health care facility; or

       e. by force or threat of force, or by physically obstructing or blocking, knowingly
       injure, intimidate, or interfere with, or attempt to injure, intimidate, or interfere with,
       another person in order to discourage such other person or any other person or persons


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       from obtaining or providing, or assisting in obtaining or providing, reproductive health
       care services; or

       f. by force or threat of force, or by physically obstructing or blocking, knowingly injure,
       intimidate, or interfere with, or attempt to injure, intimidate or interfere with, another
       person because such person was or is obtaining or providing, or was or is assisting in
       obtaining or providing, reproductive health care services; or
                                                    ….
       h. knowingly interfere with the operation of a reproductive health care facility, or
       attempt to do the same, by activities including, but not limited to, interfering with,
       or attempting to interfere with (i) medical procedures or treatments being performed
       at such reproductive health care facility; (ii) the delivery of goods or services to
       such reproductive health care facility; or (iii) persons inside the facility; or

       i. knowingly approach another person within eight (8) feet of such person, unless
       such other person consents, for the purpose of passing any material, item, or object
       to, displaying a sign to, or engaging in oral protest, education, or counseling with
       such other person in the public way within a radius of one-hundred (100) feet from
       any door to a reproductive health care facility. (emphasis added)

                            A Summary of the Challenges Presented

       48.   As the following allegations demonstrate, Chapter 425 is a poorly drafted “shotgun”

statute, clumsily designed to suppress pro-life sidewalk advocacy and counseling in numerous

different ways by using definitional “gotchas” that are repeated in the operative provisions,

rendering those provisions substantially duplicative of each other and creating a statutory welter

of interacting, cross-referenced speech-restrictions.

       49.   Therefore, in order to clarify the muddle of Chapter 425’s statutory scheme, Plaintiffs

hereby summarize at the outset their challenges to Chapter 425 based on both its operative and

definitional provisions, as fully discussed below:

      § 425.31 (a) is challenged both facially and as applied because of its incorporated
       vague and overbroad definitions of “physically obstruct or block” and “premises of
       a reproductive health care facility,” including even public property at “the entrance
       or exit of a public parking lot serving a reproductive health care facility…”

      § 425.31 (c) is challenged both facially and as applied because of its incorporated
       content-based, vague and overbroad definitions of “follow and harass” and
       “premises of a reproductive health care facility.”

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      § 425.31 (d) is challenged both facially and as applied because it imposes criminal
       liability for a mere “attempt” to engage in a “course of conduct or repeated acts”
       (including speech) that allegedly “place another person in reasonable fear of
       physical harm” within a speech-restricting zone of twenty-five (25) feet from the
       overly broadly defined “premises of a reproductive health care facility.”

      § 425.31 (e) is challenged both facially and as applied because of its overly broad
       and vague definition of “physically obstructing or blocking” and its vague, overly
       broad and content-based definition of “interfere with,” which includes “deceptive
       means [i.e., speech] or otherwise,” as well as its imposition of liability for a mere
       “attempt to … interfere with, another person…” This section is further challenged as
       applied, given that the term “intimidate” can readily be extended to speech that does
       not constitute a true threat, as the following discussion of the legislative history of
       Chapter 425 will show.

      § 425.31 (f) is challenged both facially and as applied because of its overly broad and
       vague definition of “physically obstructing or blocking” and its vague, overly broad
       and content-based definition of “interfere with,” as well as its imposition of attempt
       liability under those terms. This section is likewise further challenged as applied, given
       the term “intimidate” as viewed in respect to the legislative history.

      § 425.31 (h) is challenged both facially and as applied because of its incorporation
       of the vague, overbroad and content-based definition of “interfere with,” including
       a mere “attempt” to “interfere with” the “operation of a reproductive health care
       facility…”

      § 425.31 (i) is challenged both facially and as applied because it imposes an overly
       broadly defined eight-foot “floating bubble zone” prohibiting an “approach” to
       another person—also overly broadly defined—for the content-based purpose of
       punishing speech and expressive conduct which takes the form of the “passing any
       material, item, or object to, displaying a sign to, or engaging in oral protest,
       education, or counseling” within 100 feet “from any door to a reproductive health
       care facility.”

                   First Amendment Analysis of the Challenged Provisions

       50.   These challenged operative provisions, including the repeated incorporation of the

challenged defined terms, establish multi-layered zones and prohibitions each rigged with speech-

restrictive hair-triggers and trip-wires, under which Plaintiffs’ pro-life advocacy is subject to de

jure and de facto total prohibition under pain of criminal and civil penalties.

       51.   Under Sec. 425.31(i), within a 100-foot radius (measured from any facility door) any

“approach” to another person to a distance of less than eight feet for purposes of certain types of

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speech and expressive conduct is prohibited unless the other person consents to the “approach”

(the “100-foot ‘no approach’ zone”). This facially content-based provision prohibits only the

following specified speech and expressive conduct in which Plaintiffs engage, as noted above:

“the purpose of passing any material, item or object to, displaying a sign to, or engaging in

oral protest, education, or counseling with such other person.” As more particularly pleaded

below, because of the threat of both criminal and civil liability for a non-consensual

“approach,” the 100-foot “trigger” for the eight-foot bubble zone forces sidewalk pro-life

advocates and counselors, including the Plaintiffs, to retreat to a distance that, by legislative

design, renders their face-to-face, conversational pro-life advocacy impossible.

       52.    Worse, as further discussed below, even if pro-life advocates observe the floating

eight-foot bubble zone, the numerous other speech-restrictions imposed by Chapter 425 render the

entire 100-foot radius a First Amendment “no-go” zone due to the hair-triggers for criminal

liability that Chapter 425 plants there.

       53.   First among these other restrictions is the 25-foot zone established by § 425.31(c) and

(d) in which it is forbidden to (a) “follow and harass” another person, or (b) engage in, or “attempt”

to engage in, repeated acts or a course of conduct that places another person in “reasonable fear of

physical harm” (the “no follow and harass zone”). As more particularly pleaded below, the speech

restrictions in the “no follow and harass” zone are vague, overly broad or both, as well as content-

based, and, like the floating eight-foot bubble zone, have the effect of nullifying Plaintiffs’ pro-

life advocacy due to the threat of criminal and civil liability.

       54.   Further, under § 425.31 (a) the prohibition on “knowingly physically obstruct or

block another person” has a vague and overbroad definition—as more particularly pleaded

below—effectively reaching any First Amendment-protected activity, including conversation, the



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offering of literature or the display of a sign, that merely “hinders” the forward movement of the

hearer or recipient, which would include cars stopping in order to converse with a pro-life

advocate.

       55.   Under Sec. 425.31(e) and (f), it is also a crime merely to “interfere with” another via

“physical obstruction and blocking”—both of which phrases contain special definitions that make

it possible to reach mere leafletting and sign-holding on sidewalks outside abortion clinics.

       56.   Still worse, Sec. 425.31(h) makes it a crime to “interfere with” or attempt to “interfere

with” the operations of a “reproductive health care facility” by any form of conduct—apart from

a force or physical-obstruction predicate. Thus, mere speech that causes another to “stop”—say,

to look at a leaflet—that enforcement authorities deem “deceptive or otherwise”—results in fines,

possible imprisonment or both. As more particularly alleged below, the non-“interference”

provision is breathtakingly vague, overly broad, and content-based—thus likewise nullifying

Plaintiffs’ pro-life advocacy given the threat of criminal and civil liability.

       57.   As more particularly pleaded below, each of these restrictions is unconstitutional in

and of itself. But the combined effect of these multi-tiered, hair-trigger provisions is to

categorically prohibit pro-life advocacy outside of abortion clinics, thereby creating a super-sized,

combination de facto and de jure buffer zone (with an overall radius of 100 feet from any facility’s

door) that dwarfs the 35-foot buffer zone the Supreme Court struck down in McCullen v. Coakley.

       58.   The speech-suppressing effect of the foregoing provisions is amplified by the defined

terms “approach,” “eight feet,” “follow,” “harass,” “intimidate,” “interfere with,” “physically

obstruct or block,” “premises of a reproductive health care facility” and “public parking lot of a

reproductive health care facility”, which are variously vague, overly broad and content-based.

This is shown by the following facts.



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       59.    “Approach”, as used in §425.31(i), is defined as “to move nearer in distance to

someone”—that is, any distance at all within or that breaches the floating eight-foot bubble zone

in the 100-foot “trigger” zone. See § 425.21 (a). This term is both vague and overly broad.

       60.    “Follows”, as used in §425.31 (c), is undefined and is thus impermissibly vague as

well as overly broad. The term could embrace a movement of any distance deemed “following”

within the 25-foot “no follow and harass” zone. As shown in the Exhibits discussed below, the “no

follow and harass” zone of 25 feet overlaps all of the public sidewalk and rights-of-way, including

the public portion of driveway cutouts, that lie within the 100-foot radius. Thus, any supposed

ability to engage in effective communication within the 100-foot radius is illusory—by design.

       61.    “Eight (8) feet”, as used in §425.31(i), is defined as “measured from the part of a

person’s body that is nearest to the closest part of another person’s body, where the term ‘body’

includes any natural or artificial extension of a person, including, but not limited to, an outstretched

arm or handheld sign.” See § 425.21 (b). Chapter 425 is thus violated if any part of a pro-life

advocate’s body, or his or her sign, “approaches” any distance to any point within the floating

eight-foot bubble zone surrounding any part, or extension of, the body of anyone within that zone.

The term is an obviously overly broad hair-trigger for criminal liability.

       62.    “Harass”, as used in §425.31(c) is defined as “to engage in a course of conduct or

repeatedly commit conduct or acts that alarm or seriously annoy another person and which serve

no legitimate purpose. For the purposes of this definition, conduct or acts that serve no legitimate

purpose include, but are not limited to, conduct or acts that continue after an express or implied

request to cease has been made.” See § 425.21 (c) (emphasis added).                 Chapter 425 thus

criminalizes any speech or expressive conduct deemed “seriously annoying” to anyone who




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requests or merely implies a request that it cease. The term is both impermissibly vague and overly

broad, as well as content-based because it prohibits speech based solely on the listener’s reaction.

          63.    “Intimidate”, as used in §425.31 (e) and (f), overly broadly includes statements that

are not “true threats,” as the legislative history presented below reveals. The legislators followed

the mistaken advice that the vacated Griepp I decision is good law on the question of

“intimidation” by “threat of force.”

          64.    “Interfere with”, as used in § 425.31 (e), (f) and (h), is defined as “to restrict a

person’s freedom of movement, or to stop, obstruct, or prevent [sic], through deceptive means or

otherwise.” See § 425.21 (d) (emphasis added). As to this term, the following First Amendment

violations are apparent:

          (a) The embedded terms “deceptive means or otherwise” are not defined and are

                thus impermissibly vague as well as overly broad. “Deceptive means” could

                embrace merely alleged psychological restrictions of “freedom of movement”

                by speech—including an invitation to stop and read a pro-life pamphlet—

                deemed “deceptive” that causes the hearer to pause and speak to a pro-life

                advocate, slow his or her movement in response, or decide not to enter an

                abortion facility — all of which could also be deemed to “stop” or “prevent.”

                For example, these legitimate concerns for the mother and child could be

                deemed “deceptive” if shared by prolife advocates: “Your child has a beating

                heart and can feel pain.”5 “You will regret your abortion for the rest of your




5
    https://lozierinstitute.org/science-to-judge-jackson-yes-an-unborn-child-can-feel-pain/
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           life.”6 “The rate of suicide is higher in post-abortion people.”7 “Birth control

           pills can cause blood clots,”8 and so forth.9 This vague and overly broad term

           makes it impossible to know what speech or conduct is unduly “deceptive” or

           “otherwise” “interferes with” effectively giving unfettered discretion to

           enforcing authorities to make those determinations.

       (b) The prohibition of “deceptive means” also renders it quintessentially content-

           based, as law enforcement must discern whether the chosen means are

           deceitful—an inherently speech-based characteristic that necessarily requires

           an evaluation of its content.

       (c) The term “otherwise” is also not defined and literally could mean any “other”

           means of causing one to stop on the sidewalk outside the abortion clinic. This

           undefined term is breathtakingly vague and overbroad.



6
  https://www.10news.com/news/local-news/del-cerro-woman-pro-life-advocate-recounts-
abortion-regret
7
  https://lozierinstitute.org/new-study-elevated-suicide-rates-among-mothers-after-abortion/
8
  https://www.openaccessgovernment.org/risk-of-blood-clots/106257/
9
  See, e.g., Jennifer Rubin, “The fundamental deception behind the ‘pro-life’ movement,”
Washington Post, Dec. 1, 2021,
https://www.washingtonpost.com/opinions/2021/12/01/fundamental-deception-behind-pro-life-
movement/; see also NARAL Pro-Choice America, “Crisis Pregancy Centers Lie: The Insidious
Threat to Reproductive Freedom,” 2015, https://www.prochoiceamerica.org/wp-
content/uploads/2017/04/cpc-report-2015.pdf; Joanna Smith, “Deception used in counselling
women against abortion,” Toronto Star, Aug. 7, 2010,
https://www.thestar.com/news/canada/2010/08/07/deception_used_in_counselling_women_agai
nst_abortion.html (alleging that among the “misleading information” conveyed by sidewalk
counselors in 2010 was that abortion clinics sell fetal body parts for medical research); compare,
See e.g., Denise Grady and Nicholas St. Fleur, “Fetal Tissue From Abortions for Research Is
Traded in a Gray Zone,” New York Times, July 27, 2015,
https://www.nytimes.com/2015/07/28/health/fetal-tissue-from-abortions-for-research-is-traded-
in-a-gray-zone.html (reporting that, according to NYU Langone Medical Center Director of
Medical Ethics, Arthur Caplan, “[t]he fees . . . can run to the thousands of dollars for a tiny vial
of cells… [T]here appears to be little or no oversight of the processing of fees,” and “[i]t’s a very
gray and musty area as to what you can charge”).
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       (d) The term “prevent” as used in §425.21(d) likewise has no definition and is thus

             both impermissibly vague and overly broad. What constitutes “prevention”?

             Virtually any form of speech that alters another’s actions could be deemed to

             “prevent” [sic] in violation of 425.31 (e), (f) and (h).

       (e) Even attempted “interference with” triggers liability under Sec. 425.31 (e), (f)

             and (h)—without any actual physical restriction of “freedom of movement” and

             even if the alleged offender does not actually “stop,” “obstruct,” or “prevent”

             (whatever that might mean) by “deceptive means” (whatever that might mean).

       65.    By comparison, the definition of “interfere with” in FACE is simply “to restrict a

person’s freedom of movement” without resort to such ambiguous terms as “prevent” or “stop” by

“deceptive means or otherwise.” 18 U.S.C.A. § 248. Likewise, the New York State Clinic Access

Act limits “interfere with” to “force or threat of force or by physical obstruction…” See N.Y. Penal

Law § 240.70(1)(a) and (b) and (3)(b)(definition of “interferes with”).

       66.    “Physically obstruct or block”, as used in § 425 (a), (c) and (f), is vaguely and overly

broadly defined as “to physically hinder, restrain, or impede, or to attempt to physically hinder,

restrain or impede, or to otherwise render ingress to or egress from, or render passage to or from

the premises of a reproductive health care facility impassable, unreasonably difficult, or

hazardous.” See § 425.21(h) (emphasis added). This sweeping definition presents the following

First Amendment infringements:

   (a) The definition, which embraces even an attempt to “physically obstruct or block,”

       is far broader than that of FACE, which limits its prohibition of “physical

       obstruction” to “rendering impassable ingress to or egress from a facility… or

       rendering passage to or from such a facility or place of religious worship



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       unreasonably difficult or hazardous.” See 18 U.S.C. § 248 (a)(1) and (e)(4) The

       definition is also far broader than that of the New York State equivalent of FACE,

       which speaks only of “physical obstruction” simpliciter.

       See N.Y. Penal Law § 240.70(1)(a)-(c) and 3(d)(definition of “physically

       obstruct”).

   (b) Under Chapter 425’s definition of “physically obstruct or block” all manner of First

       Amendment-protected speech and expressive conduct could be deemed to “hinder,

       restrain, or impede, or to attempt to physically hinder, restrain or impede.” For

       example, offering literature repeatedly; “blocking” by occupying a fraction of the

       sidewalk so that those approaching or leaving (or who could be hypothetically

       approaching or leaving) an abortion clinic have to pause or go around them;

       inducing someone to stop, on foot or in a car, in order to converse, and so forth—

       all without an actual physical obstruction.

   (c) As the legislative history presented below reveals, this notion of de minimis

       “physical obstruction” appears in the vacated Griepp I decision the Westchester

       County legislators cite repeatedly in their legislative committee memoranda, up to

       and including the very date on which the Board voted to adopt Chapter 425.

       67.   “Premises of a reproductive health care facility”, as used in §425.31(a), (b), (c) and

(d), is overly broadly defined to include “the driveway, entrance, entryway, or exit of the

reproductive health care facility, the building in which such facility is located, and any parking lot

in which the facility has an ownership or leasehold interest.” See § 425.21(i). The sweep of this

provision criminalizes all protected speech or other expressive conduct deemed “seriously

annoying”—an undefined, vague, overbroad, and content-based term—within the 25-foot “no



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follow and harass” zone embracing large swaths of public sidewalks and rights-of-way that are

traditional public forums, as pleaded more particularly below with respect to the locations at which

Plaintiffs advocate and counsel.

       68.   “Public parking lot of a reproductive health care facility”, as used in § 425.31 (a), (b),

(c) and (d) to extend the definition of “premises of a reproductive health facility,” is defined as

“any public parking lot that serves a reproductive health care facility and that has an entrance or

exit located within one-hundred (100) feet of any door to that reproductive health care facility.” §

425.21(j). This term exacerbates the speech-restricting impact of the already overly broad 25-foot

“no follow” zone by adding public property to the “premises” of a privately owned facility, thus

commandeering public property for the private benefit of “reproductive health” facilities that seek

to prohibit “unwanted” speech that counsels against patronizing their businesses.

       69.   Chapter 425 further provides that “any person whose ability to access the premises

of a reproductive health care facility has been interfered with, and any owner or operator of a

reproductive health care facility or owner of a building in which such facility is located, and any

employee, paid or unpaid, and any volunteer working for such facility, and any invitee” may bring

a civil action for injunctive relief, triple damages and attorney fees within five years of the alleged

violation. See § 425.51. This provision further burdens First Amendment rights with the threat of

crushing monetary judgments for violation of any of Chapter 425’s vague, overly broad, content-

based speech restrictions

       70.   Chapter 425 also authorizes the County Attorney to bring a civil action on behalf of

the County for injunctive and other equitable “relief” from the prohibited conduct. See § 425.61.

This provision empowers a state actor to sue for imposition of Chapter 425’s speech restrictions




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on pro-life advocates and counselors under threat of contempt of court and prosecution for civil or

criminal contempt.

       71.    Finally, Chapter 425 imposes joint and several liability for criminal fines and

penalties upon “two (2) or more of the named defendants” if they “acted in concert pursuant to a

common plan or design to violate any provision of section 425.31…” § 425.71. Thus, a pro-life

advocate and counselor who personally manages to avoid any of Chapter 425’s trip wires would

still be criminally and civilly liable for alleged violations by others deemed to be acting “in

concert” with him or her.

       72.    In sum, under the cited prohibitions and definitions of Chapter 425, sidewalk pro-life

advocates and counselors can be criminally prosecuted, sued by the County Attorney, and

subjected to crushing monetary awards and injunctions in the following cases:

       (a) allegedly transgressing the floating eight-foot bubble zone—which springs into

             existence after a pro-life advocate crosses the radius of the 100-foot “trigger”

             line—by an “approach” of any distance into the eight-foot bubble by any part

             of one’s body or hand-held sign, unless one first obtains the required “consent”

             to speak to anyone inside the bubble—with the nature of the required “consent”

             being far from clear;

       (b) allegedly “following” for any distance, even a step or two, within the 25-foot

             “no follow and harass” zone and “harassing” by speech deemed “seriously

             annoying” that does not cease after an express or merely “implied” request to

             cease;

       (c) merely “attempting” to engage in an unspecified “course of conduct” or

             “repeated acts” placing another in “reasonable fear of physical harm”;



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       (d) physically “hinder[ing]”, “restrain[ing]”, “imped[ing]”, or merely attempting

           to physically “hinder”, “restrain” or “impede”, someone approaching or leaving

           an abortion facility by (based on the background of these provisions discussed

           below) merely offering literature, displaying a sign, occupying part of the

           sidewalk (“blocking”), or causing a delay by inducing conversation, even if no

           substantial physical obstruction is involved;

       (e) “intimidation” or attempted “intimidation” in the form of statements that could

           be deemed “threatening,” such as those deemed “threats” in the vacated

           decision in Griepp I, on which (as shown below), the Westchester County

           Legislators relied in drafting Chapter 425.10

       (f) “interfering with” or merely “attempting” to “interfere with” the operations of

           an abortion facility in any way, by any form of conduct deemed to constitute

           “interference”, including “deceptive means or otherwise” such as speech or

           other expressive conduct causing another to “stop,” or “preventing” another

           from entering a facility, or causing even momentary delay, even if there is no

           actual physical obstruction of access to a “reproductive health care facility.”

       (g) allegedly acting “in concert” with anyone who violates or even attempts to

           violate any of these challenged provisions and related definitions of Chapter

           425, even without violating that provision oneself, thus giving rise to guilt by




10
   For example, in the now-vacated decision, the Second Circuit panel majority found that mere
preaching about “the fragility of life” with such statements as “[y]ou never know when you're
going to die” and “they never know when death may come,” were true threats. Griepp I, 991 F.3d
at 115. That decision having been vacated by the panel itself, the District Court’s constitutionally
sound rejection of that spurious claim is now the only law of that case.


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             association with other pro-life advocates and sidewalk counselors at the same

             location.

                    THE IMPACT OF CHAPTER 425 ON PLAINTIFFS’
                  PRO-LIFE SIDEWALK ADVOCACY AND COUNSELING

       73.    Because of the challenged provisions of Chapter 425, Plaintiffs can no longer

approach cars or people accessing the facility at the locations of their pro-life advocacy to have a

conversation or offer literature without risking severe criminal and civil liability. In particular:

       74.    The 100-foot “trigger” for the eight-foot bubble zone, the 25-foot “no follow and

harass” zone, and the multiple no-“interference” prohibitions would require Plaintiff JANE DOE

and Plaintiff SALLY ROE to risk criminal and civil liability for:

       (a) Merely “approaching” less than eight feet to another in order speak without the

             other party’s “consent,” with what constitutes “consent” having no clear

             definition. §§ 425.21 (a) and 425.31(i).11

       (b) “Following” for even one or two steps. § 425.31(c).

       (c) “Harassing” by merely speaking or engaging in other expressive conduct after

             an express or “implied” request to cease, with what constitutes an “implied”

             request being undefined. § 425.21(c) and § 425.31(c).12

       (d) “Interfering with” or merely attempting to “interfere with” the operation of the

             subject facilities, with “interference” broadly and vaguely defined to include

             “stop[ping]” (even momentarily) or “prevent[ing]” “through deceptive means



11
    As the legislative history presented below reveals, the legislators viewed § 425.2(i) as
establishing a presumption of non-consent to speech inside the eight-foot floating bubble zone,
requiring the listener’s “affirmative” consent to avoid criminal liability for transgressing the zone.
12
   As the legislative history presented below also reveals, the legislators viewed what constitutes
an “implied” request to cease otherwise protected speech as a matter to be determined by the court
at a trial for alleged “harassment” in violation of §425.31(c).
                                                  25
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             or otherwise”—i.e., any speech or other expressive conduct arbitrarily deemed

             “deceptive.” § 425.21(d) and 425.31(h);

       75.    Even if Plaintiffs were able to initiate a conversation outside the 100-foot “trigger”

line at a normal conversational distance, it would have to cease immediately and they would have

to retreat to a distance of eight feet to accommodate the floating eight-foot bubble zone once the

other party has passed the 100-foot “trigger” line, unless the other party “consented” to continuing

the conversation—“consent” (whatever that might mean) having to be proved in any criminal

proceeding initiated against Plaintiffs under Chapter 425.

       76.    Moreover, as previously noted, any ability to engage in effective communication

within the 100-foot radius is illusory. This is shown by the following facts.

       77.    Annexed hereto as Exhibit G is an aerial and frontal view depicting the sweep of the

overlapping zones and prohibitions at the Planned Parenthood location where Plaintiff JANE DOE

advocates and counsels.

       78.    Annexed hereto as Exhibit H is an aerial and frontal view depicting the sweep of the

overlapping zones and prohibitions at the Planned Parenthood location where Plaintiff SALLY

ROE advocates and counsels.13

       79.    As can be seen from Exhibit G and Exhibit H, the overlapping speech-restricting

zones and prohibitions at both locations render sidewalk advocacy anywhere near the facilities

impossible without risk of criminal liability. Because the 25-foot “no follow and harass” zone

overlaps almost entirely the 100-foot trigger for the eight-foot bubble zone, even if Plaintiffs

remained eight feet away from the intended recipients of their message, they could still be charged



13
  Exhibits H and I are based on Google Maps satellite view with distances provided by the Google
Maps function. The views have been modified to add distance markers and zones, to delineate
premise details for clarity, and to delete the building addresses and personal names of tenants.
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under the “follow and harass” provision of § 425.31(c) based on a mere “implied” request to cease

their otherwise protected speech, and the “no interference” prohibitions of §425.31(e), (f), and (h)

merely for offering pro-life literature in a manner that causes a woman “to stop” or step around

the stationary sidewalk advocate.

       80.   Worse, the supposed ability to interact at an 8-foot distance within the 100-foot radius

is illusory because, as shown in both Exhibit G and Exhibit H, virtually all of the area

circumscribed by that 100-foot radius is located either within the 25-foot “no follow and harass”

zones, which encompass the public sidewalk and public driveway access normally available for

First Amendment-protected activity, or out in the middle of a street or even across the street on the

private property of homeowners.

       81.   Apart from these prohibitions, even outside the “no-follow” and eight-foot bubble

zones, and even beyond the 100-foot “trigger” line, under Chapter 425 Plaintiffs would be liable

to criminal and civil penalties for actual or attempted “physical obstruction” or “blocking” defined

as merely to “hinder”, “restrain” or “impede” (whatever that might mean), which could happen

through speech or mere occupancy of the sidewalk by pro-life advocates, or the stopping of cars

in order to speak with pro-life advocates, causing a delay (hindrance) for any length of time, no

matter how fleeting.14

       82.   For all the same reasons, Plaintiffs could also be subjected to criminal penalties,

crushing monetary awards, and injunctions based on the acts, or even the attempted acts, of others

at the same locations based on Chapter 425’s “in concert” liability provision. See § 425.71.




14
  This de minimis trigger of criminal liability is as envisioned by the legislators in keeping with
the vacated Griepp I decision that explicitly provided the rationale for Chapter 425’s prohibitions
of “unwanted” speech, as shown in the legislative history set forth below.


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        83.   The hair-trigger provisions of Chapter 425, coupled with its vague and overbroad

definitions and its “in concert” liability provision, effectively chill and prevent both Plaintiffs’ pro-

life advocacy and sidewalk counseling and even their mere presence anywhere within the 100-foot

“trigger” for the eight-foot floating bubble zones arising therein, and indeed the entire vicinity of

the clinics, given the overlapping 25-foot “no follow and harass” zones, the “no-interference”

prohibitions, and the “no-physical-obstruction, –hinder[ance], or block[ing] –block[ing] (however

fleeting)” prohibitions, including speech or other expressive conduct that might momentarily

delay, “stop” or “prevent” [sic] persons associated with or patronizing the clinic.

        84.   Accordingly, following the enactment of Chapter 425 on June 27, 2022, both

Plaintiffs have ceased their sidewalk pro-life advocacy and counseling at the aforementioned

abortion facilities in Westchester County for fear of criminal and civil liability.

        85.   Plaintiff JANE DOE has been reduced to praying in a car across the street from the

usual location of her advocacy and counseling, pending judicial intervention, as all of Chapter

425’s multi-tiered and hair-trigger prohibitions encompass the site of her First Amendment-

protected activity. See Exhibit G.

        86.   Plaintiff SALLY ROE has elected not to be present at all at her usual location,

pending judicial intervention, as the driveway that was her primary point of encounter with persons

approaching or leaving the Planned Parenthood facility is now included within Chapter 425’s

multi-tiered hair-trigger prohibitions. See Exhibit H.

        87.   Plaintiffs intend to resume their First Amendment-protected pro-life sidewalk

advocacy and counseling upon judicial intervention barring enforcement of the challenged

provisions of Chapter 425, including the aforesaid definitions of their operative terms.




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               THE EXPLICIT LEGISLATIVE INTENT TO TARGET SIDEWALK
                       PRO-LIFE ADVOCACY AND COUNSELING

         88.   The legislative history of Chapter 425 is rife with indications of official targeting and

hostility toward the speech and expressive conduct of pro-life sidewalk counselors and advocates,

and an intention to disguise that targeting as much as possible. This is shown by the following

facts.

                           The Leaking of the Draft Opinion in Dobbs
                       “Enrages” the Chairman of the Board of Legislators

         89.   On May 2, 2022, Politico published the infamous leaked draft of what would become

the Supreme Court’s majority opinion in Dobbs v. Jackson Women's Health Organization, No. 19-

1392, 597 U.S. ___ (2022).

         90.   The next day, May 3, 2022, Legislative Committee Chair Colin Smith, issued a press

release expressing his rage, denouncing “Republican deceit,” and accusing the Trump-appointed

Associate Justices of the crime of lying to Congress:

         “I am enraged. Today our nation got a look behind the curtain at decades of
         Republican deceit to stack the Supreme Court with ideologues hellbent [sic] on
         destroying the lives of countless Americans. With some justices having blatantly
         lied to members of congress when considering their appointment, a majority of the
         Supreme Court has agreed to a leaked opinion that unravels Roe v. Wade.”

See Exhibit I annexed hereto.

                       The Legislative Committee Meeting of May 9, 2022

         91.   On the same day as Smith’s outburst, what appears to be the first draft of Chapter

425, bearing the date May 3, 2022, appeared in the public record of the Board of Legislators’

proceedings on that date. That draft was discussed at the meeting of the Board on May 9, 2022,

along with a Memorandum from the Legislative Committee dated May 3, 2022. See draft statute

and Memorandum at Exhibit J annexed hereto.



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       92. The stated premise for proposing enactment of Chapter 425 is “individuals who may

exceed the boundaries of lawful First Amendment expression by engaging in activities that

physically prevent individuals from accessing reproductive health care facilities or obtaining

reproductive health care services; or by engaging in activities that unlawfully harass or intimidate

individuals trying to access such facilities and services.” See Exhibit J

       93.   The only example cited was the non-violent sit-in by the “Red Rose Rescue” group

on November 27, 2021 referred to above, for which “three men were found guilty of unlawfully

trespassing at All Women’s Health & Medical Services, a reproductive health care facility in White

Plains” and “prior similar conduct [by the same individuals, elsewhere]—each has now been

convicted multiple times of such conduct…”

       94. As shown above, however, the challenged restrictions of Chapter 425 have nothing to

do with preventing unlawful trespass on private property, for which convictions have already been

obtained as noted above. Rather, their intent is to criminalize otherwise First Amendment-

protected conduct on public sidewalks and rights-of-way, as the subsequent proceedings of the

Board make clear.

       95. In fact, the legislative record is devoid of evidence that Plaintiffs—or any other

sidewalk pro-life advocate or counselor, as distinct from the altogether different activism in

the form of peaceful civil disobedience of the Red Rose Rescue group—have ever violated

any law in connection with their peaceful First Amendment-protected activity at the subject

locations or any other location in Westchester County.

       96. The Memorandum of May 3 reveals that enactment of Chapter 425 was unnecessary to

address purported legislative concerns over threats, violence and trespass at “reproductive health

care facilities,” including the earlier sit-in at a White Plains abortion facility. As the Memorandum



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states, Chapter 425 “is modeled upon various federal, state, and municipal laws, including the

federal Freedom of Access to Clinic Entrances, of 1994 (‘FACE’), 18 U.S.C. § 248; the New York

State Clinic Access Act, N.Y. Penal L. §§ 240.70-240.71, [and] N.Y. Civil Rights L. 79-m…”—

laws that already address those purported concerns.

       97. The provisions of Chapter 425 that duplicate existing laws are merely a pretext for the

addition of the challenged speech restrictions targeting pro-life sidewalk advocacy and counseling

in the 100-foot “trigger” for the floating eight-foot bubble zone, the 25-foot “no follow and harass”

zone, and the vaguely and overbroadly defined “physical obstruction” and non-“interference”

provisions detailed above.

       98. The challenged restrictions criminalize pure speech and expressive conduct, versus the

use of force, true threats of force, physical obstruction, and trespass. There is thus a telltale

complete lack of fit between the purported legislative concerns over threats, violence and trespass

expressed in the May 3 Memorandum—already addressed by preexisting laws—and the

challenged provisions of Chapter 425.

                       The Legislative Committee Meeting of May 23, 2022:
                            the Police Are Given “Marching Orders”

       99. On May 23, 2022, the Legislative Committee of the Board of Legislators, chaired by

Legislator Smith, met to discuss what appears to be a second draft of proposed Chapter 425, dated

May 16, 2022. See Exhibit K annexed hereto.

       100. During the discussion at that meeting, Legislator Pierce complained about the rhetoric

of the Red Rose Rescue group, who “use horrific language in describing what they are doing. They

refer to these facilities as ‘killing facilities’, ‘human butcher shops’, ‘veritable satanic temples




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offering blood sacrifice’, and it goes on and on and on. And this is just comments in the last month

alone.”15

       101. This Red Rose Rescue group, Pierce further complained, “really do lean into this

grayness in the law, which hopefully we are about to fix [emphasis added].” Pierce praised:

       the importance of this bill in giving the police clear marching orders, so that there isn’t
       that confusion, which was described, when the police come to an event like this, seems to
       be the most important thing that we can possibly deliver here.

       Because if they [the police] don’t feel that they have clear lines of action, we’re just going
       to be having this over and over again. Because this is what they do over, and over, and
       over again.16 (emphasis added)

       102. Neither Legislator Pierce nor any other member of the Legislative Committee has

ever explained what the challenged provisions of Chapter 425 have to do with preventing sit-ins

by a group whose members are willing to be arrested for criminal trespass, as opposed to

peaceable pro-life sidewalk advocates and counselors, like Plaintiffs here, who have never

committed trespass at any “reproductive health care” facility or violated any other law.

                     The Legislative Committee Meeting of June 1, 2022

       103. On June 1, 2022, the Committees on Legislation and Health of the Westchester

County Board Legislators conducted a meeting at which they discussed – and received advice from

several invited legal experts concerning – the latest draft of proposed Chapter 425, dated May 25,

2022. See Exhibit L annexed hereto.

       104. Chapter 425’s floating eight-foot bubble zone provision in particular relies on the

Supreme Court’s decision in Hill v. Colorado, 530 U.S. 703, 735, 120 S. Ct. 2480, 2499, 147 L.

Ed. 2d 597 (2000), which upheld a virtually identical measure over a vigorous dissent by Justices



15
    See time code 1:24:03 et seq., online public video of Legislative Committee meeting,
https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1437.
16
   Id. at 1:24:20 – 1:25:20
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Scalia and Kennedy, who noted that Hill had departed from the Court’s requirement of strict

scrutiny for content-based restrictions in speech. Id. at 741.

        105. The video-recorded colloquy17 between the Westchester County legislators and the

legal advisors who were invited to assist them in drafting Chapter 425 during their June 1, 2022

Legislative Committee meeting reveals their knowledge that Chapter 425 would be vulnerable to

legal challenge because Hill would likely be overruled by the current Supreme Court majority in

an appropriate case, given the Court’s later decisions in McCullen v. Coakley, 134 S. Ct. 2518,

2535 (2014) and Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015).

        106. The following statements by members of the Board of Legislators during that June 1,

2022 meeting evince their intent to criminalize disfavored pro-life speech and expressive conduct

on public sidewalks and rights-of-way adjacent to “reproductive health care” facilities in

Westchester County while attempting to create the facial appearance of content-neutrality,

knowing full well that what they were doing was subject to First Amendment challenge and could

end with the overruling of Hill:

     a. Legislator/Vice Chair Barr says pro-lifers should not be allowed to disturb
        patients with harsh rhetoric:

        Barr [55:07]: “This is a private citizen who is trying to get medical care and there
        are other people who are trying to prevent them. And I really feel like that’s the
        issue here and that’s how it should be viewed. And I very much disagree with the
        idea that –I’m not saying the Supreme Court wouldn’t disagree with it – but I
        disagree with the fact that some stranger has the right to come up to you in your
        face and tell you ‘You’re making a big mistake, you’re a murderer’, you know, ‘You
        shouldn’t do this’….I don’t understand how that could really be protected.” 18


17
   https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1454
18
  To this outburst, Shannon Wong of the ACLU replied that disturbing speech is protected: Wong
[56:14]: “I certainly, in my heart I agree with you that people should be able to access unburdened
care; but I do think it’s generally if someone is shouting things at you in enter or exit that is going
to be speech that as I said may be uncomfortable or unpleasant, but generally the laws that have
been upheld allow for space for people to share that speech with people who are going in and out
to receive medical care.”
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b. Legislator Shimsky says women should not have to be exposed to the
   “maximum fury of the First Amendment” and the “culture war,” that they
   should have the same “protection” as CEOs of private corporations:

   Shimsky [1:11:55]: Well, here’s the deal, okay? If I’m the CEO of a corporation,
   just as if I’m a Supreme Court Justice, and just as if I am a politician of a certain
   level, um, I can get all kinds of distances blocked off. I could get things cordoned
   off, I could get things covered with fabric so people cannot see me enter or leave
   the building …

   As I said, these women are not politicians; they’re not culture warriors…but the
   full force and fury – of the maximum fury, for want of a better word, of the First
   Amendment can be visited on them. That CEO will never have to deal with me
   putting a leaflet in his hand. I guarantee it.

c. Board of Legislators Chair Borgia declares people should not be confronted in
   public about their personal decisions, which is why “we want these zones”:

   Borgia [1:20:40] This is something that we have to talk a little bit about, in the
   greater world, especially as we’re gonna have a very hot [public] hearing where,
   you know, people are going to claim that they know about the legality or illegality
   of provisions of this law.

   But it really is the same thing as someone coming up to, let’s say, um, a parent and
   a child in the supermarket and saying ‘I don’t think you should buy that sugar
   cereal, your children look like they have enough sugar, why are you doing that,
   you’re gonna destroy their lives, you’re gonna give them Type 2 diabetes’…”

   There’s a certain element of why we want these zones, is so that there doesn’t
   get to that ratcheted up level …. Part of the validation of why we need these
   buffer zones…and this is selling more to the public than probably to the court …
   this idea that people do have a right to peacefully go about their business and access
   services that are legal ….. I think that’s a very legitimate point for us to remember
   as we’re introducing this law to the greater public.

d. Legislator Shimsky wants to be sure that “content-neutrality” means that in
   the floating eight-foot bubble pro-life advocates cannot hand anything to
   anyone, not just leaflets or handbills:

   Shimsky [1:13:35]: Now, what kind of bubble are we going to want or are we not
   going to want? You know, I think that at that point, if people come running and
   screaming at us, you know, ‘We need protection,’ well, you know, we’re going to
   have to have the real talk about content neutrality, right?

   And, in terms of content neutrality…keeping it to handing any materials as opposed
   to specifying materials, is that to make the bill more content-neutral? So that way,


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        if there’s something that we haven’t thought of that someone else on the other side
        may want to hand, it’s all illegal, that bubble is a bubble?” 19

     e. Board Chair Borgia declares that pro-lifers should not be allowed to hand any
        objects to anybody without consent, and if that provision is struck down by
        the Supreme Court, it’s “severable” and the legislators should be “bold” in
        their legislation:

        Borgia [1:24:39]: I think if …we’re really trying to stop people handing objects –
        whatever they are -- that it should probably say either objects or material – and the
        idea of food, liquid or other materials is what I like the best…

        [1:25:33] The other thing I want us to think about as a body – I’ve mentioned this
        to a lot of my colleagues – is that we have a good amount of evidence about the
        way that the Supreme Court is moving, but we don’t know the future, we don’t know
        what’s going to happen and what could happen. And I think that that’s Professor
        Waldman’s point which is that we’re going on the law as it exists now and we do
        have severability, so if there are parts of this law that do get struck down, we still
        want to provide the protection that we are able to provide, and I would recommend
        that we be as careful as possible, but that we also be kind of bold…you know this
        is the thing that we feel is important….the stars are aligned for us to do this, and
        that we should move forward.20

     f. Legislator Maher declares pro-life advocates should not be allowed to create a
        “gauntlet” of “intimidating” speech, which is like “the n-word,” and agrees
        with Borgia that the Board should be “bold” in regulating pro-life sidewalk
        counseling according to the Board’s values rather than what the current
        majority of the Supreme Court thinks:

        Maher: [1:27:35]: We had an advocate – a pro-choice advocate who said – you
        know, there’s a context and history to this – and that is, the gauntlet – either actual
        or metaphorical that women have had to traditionally face in terms of singling out,
        intimidation, punishment for inferred sexual activity. I guess my question is: are
        people allowed to set up that sort of gauntlet, and if so – quite practically – we’re
        trying to work out what the boundaries are.

        Can you stand on the sidelines and say “You bad murderer person” or very politely
        say “You bad murderer person”….nice little old lady saying “You blank-blank n—
        person”, or “You terrible person”, which again is a word that has a history and
        context.


19
   Here Shimsky reveals that she perceives her role as legislator in this matter as that of an opponent
of “the other side” in the debate and national divide over legalized abortion.
20
   Here Borgia reveals that she perceives her role as legislator to be that of “boldly” providing
“protection” from speech she deems unacceptable, even if the proposed speech restrictions are of
dubious constitutionality.
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        But then again, you know, does this Supreme Court care about that? Do they care
        about the fact that there is this intimidation factor in going through the gauntlet
        which is quite clearly what the aim—one of the aims—of these folks are at these
        clinic protests… Is the gauntlet protected speech? And, if so, to what extent? ....21

         [1:33:55]: Like the use of the ‘n’ word, for example….there’s a history in context
        that makes it powerful beyond just a 6-letter word. Likewise, the Scarlet “A” right
        in your face, “You’re a bad, immoral person, and you’re making it worse by
        murdering a child”…The Supreme Court possibly would say “That’s hard luck,
        don’t be a snowflake. You have to be able to withstand the rigors of free speech
        and protest ….”

        [1:36:25]: I would stand with our Board Chair Madame Borgia….I think we
        should be bold, we should be forthright. It depends on what we think our values
        are here. And it goes back to what we talked about at the beginning …. the police
        didn’t know what to do in this instance, which seems bizarre to me.

     g. Legislator Gashi frets that he “worries” even about speech that is polite, which
        could still be “menacing” depending on the setting and circumstance – or even
        the clothing someone may be wearing – which is why it must be kept at a
        distance of eight feet:

        Gashi [1:45:39]: I kind of worry about this – I understand there’s grey area – but
        this focus on, you know, this polite communication that we’re so concerned about.
        I mean, we saw a video last week where a gentleman in military fatigue pants
        holding a bag that could have had anything in it – very politely, I’m sure in his own
        mind hoped to let us, you know, counsel or whatever, communicate. He would
        have viewed it as polite but I certainly regard it as menacing. I think a person
        seeking medical treatment could well regard that as menacing.

        I think the setting and the circumstance dictates and defines that speech as impolite.
        So, I’m less motivated or moved by this notion of the polite speaker. If the person
        wants to politely and calmly make that message known, they can do so at 8 feet.
        That would be my view.

     h. As to the eight-foot floating bubble zone, Legislator Erika Pierce suggests that
        “impolite” speech by people with supposedly bad intentions is harassment, and
        that no one can consent to harassment:

        Pierce: [1:49:20]: We know from their own words that this is not polite speech,
        um, that these are not people whose intentions, really, are good, by the general


21
   The Second Circuit has specifically rejected the theory that a “gauntlet of aggressive and
frightening approaches,” without physical obstruction, can be proscribed by statute. New York ex
rel. Spitzer v. Operation Rescue Nat'l, 273 F.3d 184, 195 (2d Cir. 2001).


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         context of the way they talk about patients and the individuals who they’re talking
         to. So, I agree that we should stop kind of pretending that this is polite speech.

         [1:50:01] How do we get out of this trap of, you know, what constitutes consent?
         And can anyone consent to being harassed in the first place? Which I still wonder
         how we get to that spot. But I understand that is probably a question beyond our
         purview…. I wanted to be clear on my understanding of how it is that someone is
         supposed to be able to prove that they haven’t given consent, since that really is the
         question here, not whether or not they’ve proved that they have given consent…

         107. During the above-quoted colloquy, Legislator Maher also freely admitted that the

Board’s viewpoint discrimination was evident in its reliance on “our” pro-abortion “advocates”

for input on drafting Chapter 425 so as to prohibit a “gauntlet” of disturbing pro-life speech:

         Legislator Maher [1:29:30] One of our [pro-choice] advocates – and that can be used
         against us, I suppose, at some point … say it’s a particular viewpoint… uh, but I think
         that aspect is there. To what extent is that protected speech? In your face, or 10 feet away,
         15 feet away, on either side; a gauntlet, I guess, has people on both sides.

         108. A colloquy between legal expert Prof. Waldman and the legislators at the same

Legislative meeting on June 1, 202222 reveals that under Chapter 425.31(i), there is a presumption

of non-consent to “approach” closer than eight feet to engage in sidewalk counseling, even absent

any express statement by the hearer:

      a. Professor Emily Gold Waldman, a legal advisor to the Board, replies that non-
         consent to speech is presumed under Chapter 425:

         Professor Waldman [1:50:49]: Unless someone says “Yes,” like “can I come talk
         to you, or can I hand you this?” and unless the person says “Yes” they haven’t
         given consent. The default is that there isn’t consent, unless it is given. And I
         believe this is the same language that was used in Hill v. Colorado, where it just
         said you can’t do it unless the person consents. And I don’t think it went further in
         terms of defining how consent can be manifested.

      b. Legislator Pierce replies to Waldman that this presumption of non-consent is
         “perfect,” unlike before Chapter 425 where speech not “consented” to was “a
         free speech issue,” and further enthuses that pro-life advocates will not be able
         to offer “Trojan Horse gifts” to anyone to create a “bridge” for conversation:



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     https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1454
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       Legislator Pierce [1:51:15]: OK. Perfect. So then our police would obviously need
       to be educated that it’s not a freedom of speech issue if someone did not consent
       to this treatment, I guess. Is where we ended up before, where people have this
       treatment which they did not consent to, but obviously it was viewed as being a
       freedom of speech issue.

       Professor Waldman: The default is that you haven’t given consent. You would
       have to affirmatively do it.

       Legislator Pierce: Actively.

       Professor Waldman: Right …. “Can I approach you? Can I hand you this
       leaf—?” “Yes.” Then the person can come.

       109. In keeping with the aim of creating the mere appearance of content-neutrality while

targeting pro-life handbills, leaflets, and the aforementioned “Blessing Bags” containing food

offered by Plaintiff SALLY ROE, the draft version of Chapter 425 discussed at the same June 1,

2022 meeting, dated May 25, 2022, had deleted the reference to those specific items of pro-life

speech and conduct and replaced it with a generic reference to “any material item or object”:

  Original Prohibitions in Floating Eight-               Prohibitions in Floating Eight-Foot
           Foot “Bubble” Zone                             “Bubble” Zone as of June 1, 2022

 i. knowingly approach another person within        i. knowingly approach another person within
 eight (8) feet of such person, unless such other   eight (8) feet of such person, unless such other
 person consents, for the purpose of passing a      person consents, for the purpose of passing
 leaflet or handbill or food or liquid to,          any material item or object to, displaying a
 displaying a sign to, or engaging in oral          sign to, or engaging in oral protest, education,
 protest, education, or counseling with such        or counseling with such other person in the
 other person in the public way within a radius     public way within a radius of one-hundred
 of one-hundred (100) feet from any door to a       (100) feet from any door to a reproductive
 reproductive health care facility.                 health care facility.


       110.     Further revealing the legislative intent to target pro-life speech, Legislators Smith,

Pierce and Maher discussed how the phrase “any material item or object” was intended to capture

the pro-life advocates’ use of roses and other “Trojan Horse” gifts as a “bridge” to sidewalk

conversation:



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       Legislator Smith [42:24]: In the instance that we had back in November, um, one
       of the objects that was being used were roses, you know, like long stem roses, I’m
       assuming, with thorns and stuff… but – you know – a rose with a stem with thorns
       on it could not be so funny if it lands on you or sticks ya. But the idea being that –
       you know – they weren’t giving them because it was Valentine’s Day or Mother’s
       Day or something. And so, that was what prompted us to add the section on “or
       other objects”.

       But you’re suggesting that being too specific in this instance may perhaps put us
       in, subject us to more scrutiny – or I should say, if it’s challenged, could leave us
       more exposed than if we are perhaps more general. Like, for example, unless such
       other person consents for the purpose of passing an object, or handing over an
       object, or giving an object, or something like that and maybe not listing – you know
       – what that might be – a leaflet, or a handbill, or food or liquid or something along
       those lines.

       Legislator Pierce: [1:51:52]: Hence the little roses and the other items that they’re
       trying to use as the gifts, the Trojan Horse gifts, to create that bridge.

       Legislator Maher: [1:52:03]: I think everybody at this table has had the
       experience of “Can I hand you this?” and having somebody say “No, get away from
       me! Clearly, get away from me!”

       111. County Attorney Nonna and his assistant further revealed that, at the request of the

legislators, in order to deny pro-life advocates the defense that their speech had “a legitimate

purpose” and thus was not “harassment” as defined by the New York Penal Law, Chapter 425

adopted a broader “follow and harass” provision under which an amorphous “request to cease”

triggers criminal liability for otherwise protected speech:

       County Attorney Nonna [1:53:45]: We originally put in the exact definition [of
       the New York Penal Law]. And the issue that I think was raised by some of the
       [pro-choice] advocates was—it said—at the end of the definition [of “harass”] we
       have—the definition in the Penal Law says—“without any legitimate purpose.”
       And the claim will be made—in defense [against] a prosecution under that
       section [§ 425.31(c)]—“Well, it was for a legitimate purpose. We wanted to
       communicate our opposition to abortion” or something.

       Senior Assistant County Attorney McCleod [1:54:11]: And if it was pure speech,
       that—it likely would be protected. What I think we are trying to do with the “follow
       and harass” provision…is really get at proscribable conduct that isn’t pure
       expression that’s protected by the First Amendment, with that ‘follow and harass’
       provision.


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         Um, I think the word “follow” helps in the provision itself, um, to take it out of the
         pure speech arena. But yes, initially we had included the precise language “with
         no legitimate purpose.” And then, based on the request of the legislators, we had
         changed it to its current form which reads… “‘Harass’ shall mean to engage in a
         course of conduct or repeatedly commit acts that alarm or seriously annoy another
         person, where such conduct continues after a request to cease has been made.”

         112. As shown below, the legislators would later up the ante on this already unheard-of

speech restriction by changing “request to cease” to “an express or implied request to cease.”

         113. By the time of the June 1 meeting the definition of “interfere with” had likewise been

altered to be even more restrictive of pro-life sidewalk advocacy and counseling:

            Definition of “interfere with”                   Definition of “interfere with”
              in draft of May 16, 2022                         in draft of May 25, 2022

 d. “Interfere with” shall mean to stop or to d. “Interfere with” shall mean to restrict a
 restrict a person's freedom of movement.     person’s freedom of movement, or to stop,
                                              obstruct, or prevent, through deceptive
                                              means or otherwise.




         114. As alleged above, the terms “stop,” “prevent” and “deceptive means or otherwise”

are not defined and could readily be construed to embrace pure speech that even momentarily

delays and allegedly “deceives” someone approaching or leaving an abortion facility so as to

peaceably dissuade the other from entering—precisely the aim of pro-life advocacy against

abortion.

         115. At the June 1, 2022 Legislative Committee meeting,23 the Board was made fully

aware by its legal advisors that Chapter 425 as written was vulnerable to First Amendment

challenges that could succeed:

      a. Legal expert Prof. Brettschneider observes that, as to sidewalk counseling,
         Chapter 425 may run afoul of the requirement of narrow tailoring:

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     Id. at https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1454
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   Prof. Brettschneider [30:20]: One way to think about this...is what’s the kind of
   speech that the Justices are likely to protect? Certainly, the Court demands
   viewpoint and in almost all cases content-based neutrality….

   What I think is protected, I would say, on the majority of the Court’s view at this
   moment is counseling, the attempt to persuade people walking into clinics not to
   do it because abortion is wrong… the idea of counseling is core First Amendment
   protection if it’s done in a respectful, non-threatening way, non-harassing way – at
   least when it comes to criminal harassment.

   [32:24] …I think even as I read the Roberts majority … [the question] is whether
   or not, to meet the requirement of narrow tailoring, the government must
   demonstrate that alternative measures that burden substantially less speech would
   fail to achieve the government’s interest, not simply that the chosen route is easier.
   It’s not enough to show that restrictions on speech serve some purpose, you have
   to show there’s not some alternative way that you could have gone about
   protecting the clinic, for instance, that substantially would make a difference.

b. County Attorney Nonna acknowledges that Chapter 425 is vulnerable in the
   Supreme Court and hopes for a Second Circuit panel without Trump
   appointees:

   County Attorney Nonna [39:55]: If this legislation, or legislation like this, ever
   got to the Supreme Court, I have real questions. Because when you look at some
   of the more recent cases … the Court [7th Circuit] excoriates [Hill v.
   Colorado]…Amy Coney-Barrett was on that Seventh Circuit Court. Then there
   was a recent case involving a sign ordinance… where Thomas wrote a dissent
   excoriating Hill, and Gorsuch and Amy Coney-Barrett joined in that.

   So hopefully our legislation never gets to the Supreme Court, and gets only the
   Second Circuit; and we actually draw the right panel on the Second Circuit,
   because there’s some recent appointees by the former President on the Second
   Circuit that I don’t think would support us here.

   [1:53:11] [speaking of § 425.31(i)]: Hill is still good law. I think we know what the
   Supreme Court would rule if this ever got there. But it hasn’t gotten there yet, and
   who knows when it’ll get there. So, I think this consensus to change the words, the
   individual words, “leaflet” and “handbills” to “material” and leave the other words
   in [“oral protest, education, or counseling”] at the present time.

c. Prof. Brettschneider suggests that the original ban on leaflets and handbills,
   now disguised as “material,” is broader than necessary and is not content-
   neutral:

   Prof. Brettschneider [43:53]: I think that it’s really an invitation – I do think the
   Supreme Court, by the way, is looking for a case that they can either reverse Hill

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   or clarify its meaning as they often did without reversing it as they often do; and
   the more that you list core protected speech like…passing a leaflet, passing a
   handbill….displaying a sign, engaging in oral protest, education or
   counseling…which is one of their pet projects, the counselling idea… you invite
   them to say “Oh look here, this is the kind of speech that is both content-based
   and viewpoint based. What do you think those leaflets say, what do you think that
   sign says -- these are anti-abortion signs. What is the person counseling doing?
   They’re trying to persuade you that abortion is immoral”…

   It focuses them on the content and viewpoint aspects of the speech, and I think
   invites them… to say this is not content or viewpoint-neutral, it’s subject to strict
   scrutiny, there’s another way to provide the security; as opposed to just protecting
   the door, which is what you’re trying to do...

d. Prof. Brettschneider warns that the current Supreme Court majority could
   view Chapter 425 as content-based:

   Prof. Brettschneider [51:28]: They could say for instance, “Look this statute is
   not neutral, it’s based on an attempt to silence” – this is the more extreme version
   of the opinion – but it would say, yeah, “This is not a neutral statute; this is
   evidence that this County is concerned to suppress the speech of protestors; and
   so that’s what this legislation is about at its core.” That’s my worry…

e. Prof. Brettschneider warns that impolite protest is protected:

   Prof. Brettschneider [1:11:10]: [T]he thing…I’d urge you to in your deliberations
   to do… is to think about other examples outside the abortion context…you’re all –
   I take it – all genuine, serious defenders of free speech, too, so think about an
   antiwar protest, for instance, where there’s a protest outside a defense contractor –
   and you want to approach an employee or CEO with a pamphlet that talks about
   your argument against the war. Should you be able to do that without the consent
   of that person. Now I think on that, in the same space—not exactly polite, but not
   criminal harassment—that you should be able to do it … that that’s part of the
   First Amendment.

f. Prof. Brettschneider again warns about the appearance of stopping counseling
   and protest in Chapter 425, as opposed to securing access to a facility’s door:

   Prof. Brettschneider [1:32:13]: To my mind, what’s really important about what
   you’re trying to do there is provide access to the door. What I’m suggesting is the
   more you talk about – you know, the intent looks like it’s actually stopping the
   protest, you’re stopping the counselling or displaying the sign. That to me looks
   really problematic, because if you’re just displaying a sign, you’re not obstructing
   the person, then that looks like it might be construed – I think it would be
   construed by the Court as an attempt to shut down anti-abortion speech.



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   g. Prof. Brettschneider advises that there is a constitutional right “to approach
      somebody” to convey a message by counseling or leafletting:

       Prof. Brettschneider [1:41:01]: I did want to add my voice as a defender of the
       idea of free speech to say that I think the way to strike the balance between the
       rights here is to protect the door and to make it clear that that’s what we’re trying
       to do, and not to ban explicitly – in the same way that I was trying to suggest not to
       ban leafleting – to not ban the signs explicitly, the counseling. The more that you
       specify, the more you invite the Court to strike down at least this piece of the bill.

       And I do think as a First Amendment matter, too – and this is what I was trying to
       do in getting us to think about other areas outside the abortion context – that it is a
       constitutional right to approach somebody to say what you think – take the
       environmental context, or war or any political issue… I think that’s part of the First
       Amendment, the ability to do that….

          The Board of Legislators Adopts Advisor Waldman’s Erroneous Advice
              on the Second Circuit’s Vacated Decision in New York v. Griepp

       116. During the meeting of June 1, 2022, the Board of Legislators was wrongly advised

by Prof. Waldman that, in crafting Chapter 425’s speech restrictions, the Board could be guided

by the Second Circuit’s vacated decision in New York v. Griepp, 991 F.3d 81 (2d Cir.)(“Griepp

I”), reh’g granted and opinion vacated sub nom. People v. Griepp, 997 F.3d 1258 (2d Cir. 2021),

and on reh’g sub nom. New York by James v. Griepp, 11 F.4th 174 (2d Cir. 2021) (“Griepp II”).

       117. In Griepp I, a three-judge panel, with a vigorous dissent (and partial concurrence) by

Judge Livingston, reversed the District Court’s denial of the New York Attorney General’s motion,

under FACE and the New York City Clinic Access (NYCAA), for an injunction against pro-life

sidewalk advocates and counselors, having found either no violation of those statutes or no

irreparable harm as to two isolated and trivial incidents during “years of protest activity.” New

York by Underwood v. Griepp, No. 17-CV-3706 (CBA), 2018 WL 3518527, at *42, 43-44, 48

(E.D.N.Y. July 20, 2018).




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       118. The panel majority in Griepp I justified the reversal on the basis of the following

patently unconstitutional, content-based rationale:

       The reproductive health context is a particularly delicate one …. That sidewalk counseling
       constitutes a legitimate First Amendment activity is irrelevant when conduct at issue
       persists following a request to cease. . . . Defendants may have acted with a legitimate
       purpose in their first attempt to engage a patient, but once a patient makes an explicit or
       implicit request to be left alone, that legitimate purpose is vitiated.

Griepp I, 991 F.3d at 122 (emphasis added).

       119. Over Judge Livingston’s stinging dissent, id. at 142, 144, the panel majority further

held that FACE and NYCAA criminalize “de minimis conduct” as “physical obstruction” that

supposedly interferes with clinic access, including leafletting and the positioning of signs, and that

merely touching a car that stops to engage with a pro-life sidewalk counselor renders clinic access

“unreasonably hazardous or difficult” under FACE and NYCAA. See, e.g., id. at 108, 153.

       120. The Second Circuit’s reading of FACE and NYCAA in Griepp I would have rendered

both statutes facially unconstitutional, or at least unconstitutional as applied. As Judge Livingston

noted, the panel majority had departed from all precedent and improperly “substitute[ed] its own

judgment for that of the district court” on factual findings. Id. at 153

       121. The panel majority’s decision was so clearly erroneous that, upon the filing of a

petition for en banc or panel rehearing, the panel majority took the extraordinary step of not only

granting panel rehearing but vacating its own errant decision without further briefing, now

affirming rather than reversing the District Court’s denial of an injunction and thereby

extinguishing its erroneous legal and factual analysis athwart that of the District Court. Griepp II,

11 F.4th at 178.




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       122. Yet Prof. Waldman incorrectly advised the Committee that the panel’s self-vacated

decision in Griepp I was still good law because only “a piece of this decision ended up getting

picked up and rejected by a different Second Circuit panel, but it had to do with other issues in the

case, not this First Amendment confusion.”24 (emphasis added)

       123. During the June 1 meeting, Prof. Waldman further erroneously advised the Board

that, consistent with the vacated Griepp I decision, Chapter 425 could regulate a novel category of

“impolite” speech that can be prohibited even if it is not criminal harassment:

       Prof. Waldman [59:40]: I think the question though is whether there’s a space
       between criminal harassment, clearly can be prohibited; but then on the other
       hand, sort of the example you’re giving of just like super polite, quietly saying
       something to someone once. There’s a space in between where – as it is, they can
       say all these things, and have all these signs as long as they’re 8 feet away.

       So then the question is, once someone is coming within the 8 feet how can we
       address that, because it’s often not going to be quiet and polite even if it doesn’t
       rise all the way to the level of being criminal harassment. And I think that’s what
       this is trying to capture – is that situation where someone is coming very close to
       someone else, it’s not rising to the level of harassment, but it is intimidating, it is
       unwelcome.

       124. During that same meeting, the Board was advised by Prof. Waldman to “force the

issue” by passing Chapter 425 as written, with the expectation that challenged provisions would

have to be changed or severed based on Supreme Court decisions post-Hill:

       Prof. Waldman [47:24]: And so, if that is something you want to address, then I
       don’t really see a way around having it in there and using the Hill language, and I
       think it’s true that Hill may get overturned…but I think if that’s gonna happen,
       that’s gonna happen at some point anyway, and maybe until it is, protect people up
       to the point that you can under the current law.

       If that really is a concern, I don’t see a way around just addressing it and forcing
       the issue.




24
  See https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1454 at
at 19:55.
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       Legislator Smith [47:50]: [addressing Waldman] So what about the point that
       [Professor Brettschneider] Corey was making that the types of things in this
       particular statute – a leaflet, a handbill, a sign—sort of presuppose, you know,
       content specific prohibition. Is that something you’d be concerned with?

       Prof. Waldman [48:19]: I think it’s definitely an issue, I mean, as we said, even
       though Hill v Colorado is on the books, there have been more recent cases that call
       it into question, and the makeup of the Supreme Court has changed, and so there
       may not be a majority that supports Hill anymore; so I do see that as an issue, but I
       think if you really want to address this idea that you don’t want people sort of
       coming too close to people going in, I don’t really see how you get around that.

       You may just say, you know what, we’d rather focus on other things because we
       think that’s on too shaky ground now….the alternative is you leave it in and if Hill
       gets overturned, either in this case or a different thing, that’s when you go back and
       deal with it….

       I mean there are these specific different provisions. I don’t think that the entire
       Bill would get thrown out. I think the piece… I think it would be considered sort
       of severable, and the piece that was considered unconstitutional would get thrown
       out…. So maybe you just protect as much as you can until you can’t anymore.

       125. During the June 1 meeting, the Board was further advised by Waldman that while

banning the passing of “material” instead of leaflets or handbills did not completely disguise

content discrimination, it did make it “less blatant” and “less flagrant,” and that – as to the ban

on “oral protest, education, or counseling” within the floating eight-foot bubble zone – the Board

should “leave it in,” because if the Supreme Court strikes it down it could always be changed or

severed:

       Prof. Waldman [1:39.05]: [regarding wording of 425.31(i)]: I don’t see any reason
       not to just speak more generally about passing any material, rather than specifying
       a leaflet or handbill…in the end, if a Court were to say “Well there’s a problem
       with a prohibition on handing a leaflet or handbill”, I don’t know that this solves
       it because ‘material’ would include that; but at least it doesn’t make it as blatant.
       I think that’s the idea, and I agree with that.

       So, changing a leaflet or handbill or food or liquid to just something like passing
       any material to, and then at least it doesn’t make it quite as flagrant that you’re
       including that.




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           Then there’s second piece about “or engaging in oral protest, education or
           counselling with such other person” – and that’s really the question. I mean, on
           the one hand that’s the thing that makes it – that potentially could get struck
           down. I agree, it could.

           On the other hand, right now, under Hill vs Colorado which hasn’t been overturned
           by the Supreme Court, that is the language in Hill vs. Colorado… let’s leave it in
           and if Hill vs. Colorado gets overturned, that’s when we’ll have to change it; but
           let’s not sort of preemptively on our own take it out.

                                The Board Meeting of June 6, 2022:
                       the Vacated Griepp Decision Becomes the Rationale for
                           Chapter 425’s “Unwanted Speech” Prohibition

           126. Having been wrongly advised by Prof. Waldman that the decision in Griepp I—with

its hair-trigger standard for violations of FACE and NYCAA—was good law, the Board of

Legislators continued to rely expressly upon that vacated decision in crafting the challenged

provisions of Chapter 425 in keeping with the thinking revealed at the meeting of June 1.

           127. Accordingly, the Memorandum accompanying the latest draft of Chapter 425, dated

June 4, 2022, now cites and quotes directly from the vacated conclusion of the panel majority in

Griepp I as a rationale for Chapter 425’s targeting of sidewalk pro-life advocacy and counseling,

stating:

           “[T]he Second Circuit Court of Appeals, in New York v. Griepp, after characterizing
           the reproductive health context as particularly delicate, stated: ‘That sidewalk
           counseling constitutes a legitimate First Amendment activity is irrelevant when
           conduct at issue persists following a request to cease.… Defendants may have acted
           with a legitimate purpose in their first attempt to engage a patient, but once a patient
           makes an explicit or implicit request to be left alone, that legitimate purpose is
           vitiated.’”25 (emphasis added)


25
  The same Memorandum cites the patently inapposite decision of the New York Court of Appeals
in People v. Shack, 86 N.Y.2d 529 (1995). That case did not involve First Amendment-protected
speech in the classic public forums of sidewalks and rights-of-way, but rather a series of harassing
phone calls to a woman in the privacy of her home after the woman had demanded that the
defendant, who was mentally ill, stop calling her. As the Court of Appeals concluded: “permitting
communications to be foisted upon an unwilling recipient in a private place would be tantamount
to licensing a form of trespass.” Id. at 536. The Court’s decision was premised on the right to
privacy in the home. Id. at 535–36.
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See Memorandum and draft statute, Exhibit M annexed hereto.

         128. By the time of the June 6, 2022 meeting,26 the Legislative Committee had,

accordingly, expanded the original definition of “harass” to include a merely “implied” request to

cease “unwanted” speech, thus aping the vacated majority opinion in Griepp I:

                 Prior Definition                                   New Definition

 c. “Harass” shall mean to engage in a course of    c. “Harass” shall mean to engage in a course of
 conduct or repeatedly commit acts that alarm       conduct or repeatedly commit conduct or acts
 or seriously annoy another person, where such      that alarm or seriously annoy another person
 conduct continues after a request to cease has     and which serve no legitimate purpose. For the
 been made.                                         purposes of this definition, conduct or acts that
                                                    serve no legitimate purpose include, but are not
                                                    limited to, conduct or acts that continue after
                                                    an express or implied request to cease has
                                                    been made.



         129. During that same meeting, Legislator Smith thanked County legal counsel for adding

the “consent” element to the definition of “legitimate purpose” (going beyond the New York Penal

Law) in order to avoid the defense by pro-lifers that their political speech has a legitimate purpose,

thereby alleviating the concern of “many of our stakeholders”—meaning pro-abortion lobbyers

for the legislation—about the “problematic” term “legitimate purpose”:

         Legislator Smith [1:23:31] And I think that – thank you for taking the time,
         working with our legal scholars and really fleshing out that point because I know it
         was a point of concern for many of our stakeholders, that the “no legitimate
         purpose” would be problematic for us if there was not any further definition of
         that, uh, which we’ve now included, because anyone who is making, uh, what they
         feel is a political statement is going to say “Well, of course, that’s a legitimate
         purpose.”….

         130. During the June 6 meeting, County legal counsel clearly (however unwittingly)

confirmed the content-based nature of Chapter 425’s speech-restrictions by stating that, unlike the



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     https://westchestercountyny.granicus.com/MediaPlayer.php?view_id=1&clip_id=1463
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law at issue in Hill, which covered all healthcare facilities, Chapter 425 covers only “reproductive

health care facilities”—at which, of course it is precisely pro-life sidewalk advocacy that is taking

place:

         Senior Assistant County Attorney MacLeod [1:22:05] …. And ours is a little
         more lean than the version that was upheld by the Supreme Court. The Colorado
         law that was upheld applied to all healthcare facilities, whereas ours applies only
         to reproductive healthcare facilities.
         131. The Board was advised by County legal counsel that the issue whether someone has

made an “implied” request that a pro-life advocate cease speaking for purposes of finding

“harassment” will depend on whatever a court decides:

         Legislator Maher [1:26:15]: I can imagine in these situations that part of what
         they’re doing is trying to shame women, right? And I can imagine there be those
         who are not going to say: “Please stop, get away from me!” and there are those who
         just want to duck their head down and get to their appointment and do what they
         want to do.

         Um, so what is “implied request” [to cease]? If I duck? And, you know, shield
         myself? Am I – is that an implied request, or is it not? And they can just keep yelling
         at me?”

         Senior Assistant County Attorney MacLeod [1:27:20]: That being said, if you’re
         talking about … an implied request to cease…the evidence is – once again, as we
         discussed before and the County Attorney has mentioned, particularly with the
         harassment statutes – it’s gonna be about whatever evidence you present to a
         court…it will be up to a court to determine, you know, was that enough to show
         that you wanted the conduct to cease.

         Legislator Maher [1:29:09]: I can’t picture… how someone is doing this implied
         request.

         132. Regarding the vague element of Griepp I’s “implied” request to cease speaking,

Chief Deputy County Attorney Stacey Dolgin-Kmetz advised the Board that merely walking past

someone handing out leaflets suffices to criminalize that conduct based on an “implied request” to

cease:

         Chief Deputy County Attorney Dolgin-Kmetz [1:29:24]: Let me tell you one
         thing. When you’re walking down the street and people are handing out leaflets—


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       I’m not even talking about a reproductive healthcare—you’re walking down the
       street….let me finish…and you walk past and you ignore that person, that’s
       implied: “Leave me alone”. So, to me, I don’t see a problem with it….you put
       your head down, you walk by, and it’s clear you don’t want anything to do with
       this other person. In my opinion.

       Legislator Maher [1:30:18]: I hope [!] that’s enough.

       133. During the above quoted exchange with Legislator Maher, Senior Assistant County

Council McCleod further advised the Board that a pro-life sidewalk counselor would violate the

“follow and harass” provision even while outside the 8-foot floating bubble zone and that still

other speech-restricting provisions could “kick in” to penalize pro-life advocates:

       Senior Assistant County Attorney MacLeod [1:26:51]: So, I just want to mention
       a couple of things very quickly. First, our harassment – the word “harass” only
       appears in one violation of the prohibited conduct section, and it requires a “follow
       and harass” so it’s not just harassing conduct, it’s following and harassing as well.

       Legislator Maher [1:27:11]: They’re staying outside the bubble, but they’re
       walking along with them.

       Senior Assistant County Attorney MacLeod [1:27:14]: Uh-huh. [affirmative]
       So, and as we talked about before, a number of other provisions might kick in as
       well.

       134. The following colloquy between Legislators Maher and Barr, and Senior Assistant

County Attorney McLeod reveals that the reference to “oral protest, education and counseling”

was retained because without that reference to content Chapter 425 “is not doing what you want it

to do”—that is, restrict pro-life sidewalk advocacy and counseling:

       Legislator Maher [2:15:25]: ...said not to change the next line after that [“engaging
       in oral protest education, or counseling”]

       Senior Assistant County Attorney McLeod: Right, the Board requested that the
       first part be changed [to “any material, item, or object”]—

       Legislator Maher: The first part being changed because it talks about pamphlets
       ….that would be the logical conclusion, or the conclusion a lot of people would
       make being that we were aiming at the content, right?...But oral protest, education
       and counseling, we’re not talking about any particular contents.


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         Legislator Barr: Well, I think there really wasn’t a generic term for those things….

         Senior Assistant County Attorney McLeod: There were suggestions. I think the
         ultimate decision of the Board was to not change that portion [“oral protest,
         education, or counseling”] to be closer to the original Colorado statute that was
         upheld in Hill. Although we can all recollect what the scholars were saying about
         that decision being on sort of shaky Constitutional ground, and if the Supreme
         Court revisited it today, it might well say, “Look, education, counseling, oral
         protest – that’s content based, because I have to look at what the message says in
         order to determine whether it’s education.”

         So, the Supreme Court might say now: “If I have to look at the language to
         determine whether it’s a violation, you’re content based.” That’s kind of a broad
         interpretation of where the precedent has been going, that is the opinion of some
         scholars. For now, Hill is still good law, so we feel confident we can include it
         until it’s expressly overturned by the Supreme Court.

         Legislator Barr: And as Professor Waldman said, you know, “Are you
         trying….what’s your goal in making this law?” You don’t just water it down to
         the point where it’s not doing what you want it to do.

                        The public hearing and vote of June 27, 2022:
           the County Legislators openly declare their antipathy to pro-life advocacy

         135. On June 27, 2022, the Westchester County Board of Legislators held a public meeting

preceding the vote to adopt Chapter 425.27 A copy of the final form of the law as adopted and the

accompanying Memorandum of the Legislative Committee, which continues to cite the vacated

Griepp I decision as authority, are previously referenced above as Exhibit F.

         136. The June 27 meeting, at which the Board of Legislators voted 15-to-2 to adopt

Chapter 425, served as a soapbox for the legislative supermajority to declare their outrage over the

Dobbs decision while revealing that the passage of Chapter 425 – as was already clear from its

sweepingly drafted provisions – had virtually nothing to do with the previous peaceful trespass by

members of the “Red Rose Rescue” group but rather the overreaching regulation of public forum

pure speech deemed by them to be unacceptable.



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       137. Yet, while voting to restrict clearly protected First Amendment activity, the

legislators disingenuously declared that Chapter 425 does not do so – at the same time they

object to pro-life advocates “forcing” their beliefs on others and admit that they are establishing

buffer and bubble zones to prevent this:

       LEGISLATOR/LEGISLATIVE COMMITTEE CHAIR SMITH [41:44 –
       44:54]: I just want to start by saying that right now I am absolutely terrified for
       every woman in America today … I feel even more terrified for every American
       today who now lives in fear—in fear of a Supreme Court, who for the first time
       in our nation’s history has actually stripped away a constitutional right and have
       now made it unequivocally clear that they are willing to dismantle many others.
       Make no mistake, this is just the beginning. And all in the name of what? Forcing
       one person’s beliefs upon another? ... That is why I – as I stated earlier, I am
       proud to introduce the Clinic Access Bill this evening. But not only that, I feel
       compelled to do so.
                                                …

       The federal government may no longer recognize a woman’s right to reproductive
       autonomy. But here in Westchester County, we do. And we will vigorously defend
       that right by all means at our disposal. Tonight, we vote to expand those protections
       by making it harder for those who would try to physically or verbally harm or
       harass someone seeking medical advice or treatment at a reproductive healthcare
       facility. The creation of safe zones around the entrance ways to such facilities and
       nearby parking areas, it will not prevent protestors from protesting in those places.
       That is not the intent of the law ….

       LEGISLATOR JEWEL JOHNSON [44:58 – 48:04]: I just have to add on a
       personal note how much I echo my colleague…Legislator Smith’s comments…. I
       can’t imagine women not having options…. Everyone has the right to walk the
       entrance path without being blocked, without declined or refused counseling,
       harassment, threat, interference, disruption, obstruction, intimidation or further
       traumatization. They have the right to not have their personal space disrupted or
       invaded. As human beings, they all have the right to privacy, to feel safe and to
       be respected …. It should be noted, this legislation does not prohibit First
       Amendment freedom of speech….

       I am proud this legislation will establish buffer zones and bubbles, protects the
       safety and promotes the civil rights and the public health of those providing or
       accessing reproductive health services.

       LEGISLATOR CHRISTOPHER JOHNSON [48:10 – 49:07]: Last week we
       saw the gutting of the rights of not some but every American. The government



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       has a responsibility to both protect and respect the choices that we can and should
       be able to make in this nation, especially one that we consider a free society.

       Here in Westchester, we will do everything we can to protect and respect the rights
       enumerated to us. I believe that everyone who makes a personal healthcare decision
       should have unobstructed access to the facility that they choose…

       Every woman should feel safe, be safe and safely receive adequate services when
       her choice to seek healthcare has already been made…. No one should feel terror
       while seeking medical care.

       138. Legislator Shimsky exulted that while an attempt to pass similar legislation had been

vetoed by the County Executive years before, now the “pro-choice” supermajority on the Board

and the new “pro-choice” County Executive can accomplish their speech-restricting aims, with the

help of pro-abortion organizations, including Planned Parenthood (no pro-life organization having

been consulted):

       LEGISLATOR SHIMSKY [51:40 – 55:00]: …. I and several colleagues
       [previously] sponsored a measure similar to this one: to protect people seeking
       medical treatment from being physically prevented or intimidated from seeking the
       care they need, including abortion. We passed the legislation … only to see it vetoed
       by the then County Executive….

       Our circumstances are completely different now. We now have a pro-choice
       County Executive and a pro-choice super majority on the Board of Legislators.
       Also, the behavior of some clinic protestors has become alarmingly worse …. [The
       Red Rose Rescue protestors in November 2021] eventually were convicted of
       trespass, but that’s not good enough, especially since there is no constitutional
       right to commit crimes on private property. Under our clinic access law, such
       behavior would be punishable by up to 6 months in jail.

       Last week’s Supreme Court decision overturning Roe v. Wade will encourage even
       more dangerous conduct. That makes this clinic access law crucial…. [T]he First
       Amendment does not give people the right to harass, intimidate, attack or prevent
       others from lawfully exercising their rights… and more than that, the kind of
       behavior targeted by this law poses a threat to the public safety and the concept
       of ordered liberty without which no society can function….

       I’d like to thank everyone who worked on this bill with us: the advocates at
       Planned Parenthood, the New York Civil Liberties Union, and WCLA Choice
       Matters, including their Director.



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       139. Other legislators likewise expressed satisfaction with their ability, at long last, to

provide “added protection” against the disturbing speech of pro-life advocates:

       LEGISLATOR CLEMENTS [56:02 – 56:30]: This clinic access legislation is
       protecting the ability to enter the clinic for personnel and patients, to provide and
       receive medical attention without harassment and intimidation.

       LEGISLATOR PIERCE [56:44 – 58:23]: …While the genesis of this legislation
       goes back many years …. and has nothing obviously to do with last week’s
       Supreme Court decision, that decision and the seismic ripples we are now seeing
       emanating from that decision highlight just how important and timely this
       legislation is….

       In this case we’re talking about reproductive health care services, and that access
       should come without harassment and without physical impediments. Historically,
       some protestors have tried to undermine that ability, at times yelling at or pestering
       patients … For patients, this may be traumatizing and stop them from receiving
       care, which is of course, the protestors’ end goal.

       In our current world, with all of its stressors, our heightened level of anxiety over
       increasing violence and all the difficulties post-pandemic of scheduling timely
       medical appointments, we need to make certain that both doctors and patients
       alike are both safe and provided with the space and security to do what they need
       to do to protect their own health and the health of their patients. This is the goal of
       this legislation.

       LEGISLATOR ALVARADO [1:00:49 – 1:01:59]: We are addressing
       harassment, you know, and I happen to be one of those people that because of the
       way I look who gets pushed around, just because people think that they can push
       us around. I don’t quite take it nicely anymore and I know my way around it, but
       access to healthcare?

       I have to fear that somebody is actually going to pray with me from entering? A
       woman’s right to her body? Absolutely not – and not in Westchester, and not this
       type of harassment, not any harassment…. Harassment has no place, much less
       when women are accessing advice, healthcare and options of their own body. So I
       absolutely support this bill, Madame Chair, on behalf of all of us people that really
       know what harassment feels like.

       LEGISLATOR GASHI [1:02:03 – 1:02:33]: Abortion is clearly legal in New
       York State, but even in New York there have been attempts to intimidate and
       harass ….This bill is respectful of the right – the freedom of speech, the rights
       people have to make that speech, but not the right to intimidate and harass.




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         LEGISLATOR PARKER [1:05:33 – 1:05:56]: What we have is going to be added
         protection for women and – for their reproductive health, which at the end of the
         day after what happened on Friday with the Supreme Court every little action
         that we can take to protect that right is the right action.

         LEGISLATOR BOYKIN [1:10:00 – 1:11:14]: With the Dobbs decision on
         Friday, which overturned Roe vs Wade, we had already been working on this… We
         think we have put together a law that will stand the test of a court challenge. We
         don’t know, but we think so. And this is not against anyone’s First Amendment
         Rights.

         LEGISLATOR WOODSON-SAMUELS [1:11:45 – 1:12:16]: To some of my
         colleagues that have brought up potential ramifications, well, listen, I’m a proud
         ally and I’m willing to go shoulder to shoulder with each and every one of you
         women here to fight that good fight…that everyone knows in Westchester County
         and New York State and the United States of America, that, you know, this law
         that’s been on the books for 50 years, we can’t allow that to settle here in
         Westchester County.

         CHAIRWOMAN BORGIA [1:13:20 – 1:14:37]: [T]his piece of legislation also
         protects people, persons going into reproductive health care clinics for any reason,
         for any service, and making sure that they are able to have safe passage into those
         clinics without any difficulty…Post Roe, this is obviously a little bit more timely
         and feels more imperative….

         We do think post-Roe, however, that there will be more protests on our clinics. We
         know that anti-choice advocates have said that they are going to go to states and
         places where abortion remains legal, so we want people to know that if they come
         to Westchester County to access these services that there are laws in place, that
         there are people trained who know what to do to make sure people can access legal
         health care services without being harassed or in any way intimidated.

         140. In her above quoted comments, Chairwoman Borgia also thanked the New York

Attorney General’s Office for its assistance in drafting Chapter 425 – the same Attorney General

whose patently unconstitutional legal theories were wrongly accepted by the Second Circuit in the

Griepp I 28 decision the Second Circuit itself was constrained to vacate almost a year earlier:

         CHAIRWOMAN BORGIA [1:12:54 – 1:13:21]: One of the things that has really
         given us pause… is to make sure we are very, very, very committed to making sure
         that we are not abridging anyone’s First Amendment Rights. That is the reason that
         we worked with constitutional lawyers, with the New York Civil Liberties Union,


28
     Griepp I, 991F.3d at 131-34
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       with the Attorney General’s Office, to make sure that we were protecting people’s
       First Amendment Rights…”

       141. Finally, the Board majority ignored the warnings of the minority that Chapter 425 as

written would invite legal challenges under the First Amendment:

       LEGISLATOR NOLAN [58:55 – 1:00:24]: …[This legislation] due to subsection
       [425.31] (i) is going to cause a serious problem. Eleven years ago, this law didn’t
       get passed for a reason, and it still is wrong today because….of cancelling
       someone’s freedom of speech. For example, during this process, we have seen
       pro-choice advocates come in, but no pro-life advocates. They have expressed to
       me that they feel cancelled and locked out; they don’t have a voice.

       Now, yes, anybody that accesses a clinic and has wrong intentions is breaking the
       law with trespassing. But there are federal laws that are set in place to help protect
       people walking into clinics.

       George Washington once said: “The Constitution is a guide I will not abandon.”
       We all took an oath and if we believe it or not, the First Amendment of Speech is
       being broken today if we vote for this …. I am very concerned that we now are
       opening the door to lawsuits.

       We made an oath to protect the constituents on both sides of this County, and
       we’re going to be wasting County resources fending off this fight…. now we’re
       opening floodgates to be sued; this has already been proven unconstitutional, and
       I ask you…to table this item for now.

       LEGISLATOR CUNZIO [50:20 – 51:03]: As we know, and as was stated, we
       had [FACE and NYS version of FACE]. The actions that are unconscionable that
       happened at the White Plains Clinics, there were laws in place, and there were
       consequences. Those people were arrested.

       The thing that I am the most concerned about is subsection [425.31](i) in this bill
       [establishing the eight-foot floating bubble zone], as many of you know, I spoke to
       you about it. It’s the one thing that really concerns me and can open up a slippery
       slope for the future. I am concerned about the legalities of it, and we’re not experts
       in that and we don’t know what’s going to happen…

       142. Despite the likelihood of an immediate First Amendment challenge, on June 28,

2022, Defendant Latimer, the County Executive, signed Chapter 425 into law. This action

followed.




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                                             COUNT I

                         VIOLATION OF THE FIRST AMENDMENT
                          FREEDOM OF SPEECH AND ASSEMBLY
                                   (42 U.S.C. § 1983)

       143. Plaintiffs hereby reallege and adopt each and every allegation in the preceding

paragraphs as if fully set forth herein.

       144. The Free Speech Clause of the First Amendment to the United States Constitution,

as applied to the states by the Fourteenth Amendment, prohibits the State from abridging Plaintiffs’

freedom of speech in the form of advocacy and counseling against abortion in the quintessential

traditional public forums of public sidewalks and rights-of-way.

       145. The Free Assembly Clause of the First Amendment, as applied to the states by the

Fourteenth Amendment, prohibits the State from abridging Plaintiffs’ freedom of assembly with

others of like mind for the purpose of advocating and counseling the choice of life over abortion.

                                    Pre-Enforcement Challenge

       146. This pre-enforcement challenge to Chapter 425 is warranted because Plaintiffs need

not “demonstrate to a certainty that [they] will be prosecuted under the statute to show injury, but

only that [they have] an actual and well-founded fear that the law will be enforced against [them.]”

Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 689–90 (2d Cir. 2013).

       147. Plaintiffs have such a well-founded fear because Chapter 425 is, on its face, and also

as shown by its legislative history, designed to inhibit and criminally and civilly punish Plaintiffs’

activities: sidewalk pro-life advocacy and counseling, offering of literature, food, and even the

display of signs. These are First Amendment-protected activities, not prohibited by any other

existing law, in which Plaintiffs have engaged for years without violating a single law, and in

which they intend to continue engaging if enforcement of Chapter 425 is enjoined by this Court.



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       148. As Plaintiffs’ decision to avoid their advocacy and counseling subsequent to the

enactment of Chapter 425 demonstrates, the danger of the challenged statute “is, in large measure,

one of self-censorship; a harm that can be realized even without an actual prosecution.” Id.

                           Content- and Viewpoint-Based Restriction

       149. Chapter 425, § 425.31(i), is a presumptively unconstitutional content- and viewpoint-

based restriction on speech, both facially and as applied to these Plaintiffs’ First Amendment-

protected speech and expressive conduct. See also Ch. 425, §425.21 (a)-(d), (h)-(j) and Ch. 425,

§ 425.31(c)-(f) and (h).

       150. The obvious intent of § 425.31(i) is to end sidewalk counseling at abortion clinics in

Westchester County by criminalizing and subjecting to injunctions and crushing awards of triple

damages and attorney fees classic First Amendment-protected speech and expressive conduct in

quintessential traditional public forums: i.e., “oral protest, education, or counseling.” § 425.31(i).

       151. Under the 100-foot “trigger” for the floating eight-foot bubble zone, “A speaker

wishing to approach another for the purpose of communicating any message except one of protest,

education, or counseling may do so without first securing the other’s consent.” Hill, 530 U.S. at

742 (Scalia, J., dissenting)(first emphasis in original, second emphasis added).

       152. Chapter 425 is facially content-based for the additional reason that the floating 8-foot

bubble zone regulates “oral protest, education and counseling” “out of an apparent belief that only

speech with this content is sufficiently likely to be annoying or upsetting as to require consent

before it may be engaged in at close range.” Id. But restrictions based on listener reaction to speech

are inherently content-based. McCullen v. Coakley, 573 U.S. 464, 481 (2014).

       153. Moreover, as the above-cited legislative history reveals, the Board of Legislators

deliberately disguised its earlier express intention to employ the floating eight-foot bubble zone to



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ban the passing of a “leaflet, handbill, food, liquid” as offered by Plaintiffs and other pro-life

advocates, replacing those words with “material, item, or object” in order to make Chapter 425’s

content discrimination “less blatant” and “less flagrant” (per Prof. Waldman).

       154. In conjunction with § 425.31(i), establishing the floating eight-foot bubble zone

within the 100-foot “trigger zone,” the defined prohibitory terms in §425.21 (a)-(d), (h)-(j), and

the prohibited acts enumerated in § 425.31(c)-(f), criminalize and impose civil liability on

“approach[ing]”, “harass[ing]”, “seriously annoy[ing]”, and “follow[ing]” in the overlapping

floating eight-foot “no-approach” and 25-foot “no follow and harass” zones, as well as

“hinder[ing]”, stop[ping]”, “prevent[ing]” and otherwise “interfering with” (including by

“deceptive means or otherwise”) generally without limitation to the zones or even the immediate

area of a “reproductive health care facility.”

       155. Likewise, in keeping with the vacated decision in Griepp I, on which the defendant

Board of Legislators expressly and repeatedly relied in drafting Chapter 425, the terms “physically

obstruct or block” and “intimidate” and “attempt to intimidate,” as codified in § 425.31(a), (e), and

(f), reach clearly protected speech and expressive conduct that could be deemed “obstructive” or

“threatening” according to the subjective reaction of the recipient of the message: e.g., holding a

sign that takes up part of the sidewalk, or saying “You never know when you will die and face

God’s judgment.” See, e.g., Griepp I, 991 F.3d at 106, 115.

       156. These additional challenged provisions target “even the most gentle and peaceful

close approach by a so-called ‘sidewalk counselor’—who wishes to ‘educate’ the woman entering

an abortion clinic about the nature of the procedure, to ‘counsel’ against it and in favor of other

alternatives” because this kind of speech “will often, indeed usually, [be] annoying or deeply




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upsetting the woman who is planning the abortion.” Hill, 530 U.S. at 747-48 (Scalia, J.,

dissenting).

        157. The facially content-based discrimination of Chapter 425 overall is revealed by the

limitation of its prohibitions to speech and conduct outside a “reproductive health care facility,”

where—as the County legislators and their legal advisors knew and extensively discussed—the

only relevant speech and conduct is that of pro-life sidewalk advocates and counselors. A

restriction that operates only on speech and expressive conduct in the environs of a “reproductive

health care facility” is transparently “a means of impeding speech against abortion.” Hill, 530 U.S.

at 747 (Scalia, J., dissenting).

        158. Moreover, Chapter 425’s actual intended operation and effect to prohibit and

otherwise restrict pro-life speech is blatant viewpoint-based discrimination and is thereby per se

unconstitutional.

        159. Even if Chapter 425’s provisions were facially content neutral (which they are not),

the Supreme Court’s “precedents have also recognized a separate and additional category of laws

that . . . will be considered content-based regulations of speech: laws that cannot be ‘justified

without reference to the content of the regulated speech’, or that were adopted by the government

‘because of disagreement with the message [the speech] conveys.’” Reed. v. Town of Gilbert, Ariz.,

576 U.S. 155, 164 (2015) (alteration in original) (quoting Ward v. Rock Against Racism, 491 U.S.

781, 791 (1989)). Government may not deny use of a traditional public forum “to those wishing

to express less favored or more controversial views,” Police Dep’t of City of Chicago v. Mosley,

408 U.S. 92, 96 (1972), nor may it restrict a group’s speech because of “dislike for or disagreement

with the [group] or their views,” Niemotko v. Maryland, 340 U.S. 268, 272 (1951).




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       160. But Chapter 425 manifestly restricts Plaintiffs’ pro-life sidewalk counseling and

otherwise peaceful pro-life speech based on the County’s vehement disagreement with their

message, as evidenced, without limitation, by the above-cited legislators’ words and deeds as

follows:

       (a) deploring pro-life speech as inherently “impolite” (and thus unacceptable) by

       characterizing abortion as “murder,” and comparing exposure to it as having to

       endure a “gauntlet” and attempts to “shame”;

       (b) comparing pro-life speech to hypothetically telling a mother in a grocery store

       not to give her children too much sugar;

       (c) seeking to prevent the use of “Trojan Horse gifts” that create an unwanted

       “bridge” to women contemplating an abortion;

       (d) revealing that “our stakeholders” were all pro-abortion advocates, who “worked

       on this bill” with the Board of Legislators, including Planned Parenthood, WCLA

       – Choice Matters, and the Westchester Coalition for Legal Abortion—with no pro-

       life organizational input;

       (e) relying expressly on information and data from the abortion-advocacy

       organization National Abortion Federation (Committee Memo, pg. 4) without any

       counterbalancing data from a pro-life organization;

       (f) admitting that the bill had passed, after a similar bill was vetoed by the former

       County Executive, because “We now have a pro-choice County Executive and a

       pro-choice super majority on the board of Legislators.” (emphasis added);




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       (g) insisting that no woman should be faced with the “maximum fury of the First

       Amendment” or “culture war” nor the “intimidation” of being subjected to an

       unwanted “approach” by a pro-life advocate.

       161. None of the challenged provisions cited above is justified by any compelling

governmental interest, nor are they narrowly tailored to achieve any purported government interest

in securing access to abortion facilities, with narrow tailoring in the context of strict scrutiny

requiring the least restrictive means available. “Preserving the ‘right to be free’ from ‘persistent

importunity, following and dogging’ does not remotely require imposing upon all speakers who

wish to protest, educate, or counsel a duty to request permission to approach closer than eight feet,”

Hill, 530 U.S. at 754 (Scalia, J., dissenting)—let alone effectively requiring Plaintiffs to avoid the

vicinities of abortion clinics in their entirety, in light of Chapter 425’s multi-layered hair-trigger

prohibitions.

       162. Even assuming a purportedly non-content-related government interest in “protecting

access” to facilities in which abortions are performed, “a law that has as its purpose something

unrelated to the suppression of particular content cannot irrationally single out that content for its

prohibition.” Id. at 747; citing Police Dept. of Chicago v. Mosley, 408 U.S. 92, 96(1972). But that

is exactly what Chapter 425 was designed to do, as the text itself and the entire legislative history

reveals beyond any reasonable doubt.

       163. Moreover, laws prohibiting trespass and harassment, including the federal

Freedom of Access to Clinic Entrances Act (“FACE”), 18 U.S.C. § 248(a)(1), (c)(3)(A) and the

New York Clinic Access Act (“NYSCAA”), N.Y. Penal Law § 240.70(1)(a)-(b)—if construed

consistently with the First Amendment to prohibit only the use of force, threat of force, or physical




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obstruction without regard to the content of speech—already serve any purported government

interest in securing access to abortion facilities.

        164. Plaintiffs’ activities are undeniably in compliance with all pre-existing laws whose

purported aim is to secure clinic access, which is precisely why Defendant Westchester County

enacted Chapter 425: to reach the otherwise First Amendment-protected speech and expressive

conduct of Plaintiffs and other pro-life advocates and counselors based on their message of

opposition to abortion.

        165. Chapter 425 as a whole was designed to prohibit “presumptively ‘unwelcome’

communications” by pro-life advocates and counselors. It thus “fits precisely the description of

prohibited regulation set forth in Boos v. Barry, 485 U.S. 312, 321(1988),” because “It ‘targets

the direct impact of a particular category of speech, not a secondary feature that happens to be

associated with that type of speech.’” Hill, 530 U.S at 748 (Scalia, J., dissenting)(quoting

Boos)(emphasis added).

        166. For that reason, as pleaded above, the listener’s non-consent to pro-life speech,

triggering criminal liability, is presumed as to both the floating eight-foot bubble zone and the

“follow and harass provision” of §425.31(c)—even without an express statement, or indeed any

statement, by any listener that the speech is “unwelcome.”          As § 425.21(c) provides in its

definition of “harass,” the prohibited “conduct or acts that serve no legitimate purpose include, but

are not limited to, conduct or acts that continue after an express or implied request to cease has

been made.” Still worse, as the above discussed legislative history reveals, the non-consent to

listen to unwanted speech is presumed.

        167. There is no legitimate “governmental interest in protecting the right to be let alone”

and “the Constitution does not permit government to decide which types of otherwise protected



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speech are sufficiently offensive to require protection for the unwilling listener or viewer.” Hill,

530 U.S. at 751-52 (Scalia, J., dissenting)(emphasis in original)(quoting Erznoznik v.

Jacksonville, 422 U.S. 205, 210, 95 S.Ct. 2268, 45 L.Ed.2d 125 (1975).

       168. The challenged provisions of Chapter 425, individually and taken together, violate

the bedrock First Amendment principle that “in public debate our own citizens must tolerate

insulting, and even outrageous, speech in order to provide adequate breathing space to the

freedoms protected by the First Amendment.” Schenck v. Pro-Choice Network Of Western New

York, 519 U.S., at 383 (cleaned up).

       169. Because the challenged provisions of Chapter 425, individually and taken together,

variously restrict only speech and expressive conduct outside facilities where pro-life advocates

exercise their First Amendment rights in a manner deemed “unwanted” due to its upsetting content,

Chapter 425 entirely fails the required strict scrutiny of content-based speech restrictions. The

challenged provisions serve no compelling state interest, nor are they narrowly tailored to serve

any purported interest in preventing trespass, the use of force, true threats of force, or actual

physical obstruction of clinic access, which none of the challenged provisions addresses.29

                       Invalid as a Time, Place and Manner Restriction

       170. Even if Chapter 425 were content-neutral, its prohibitions are substantially broader

than necessary to achieve any purported significant government interest. The challenged

provisions of Chapter 425 are not narrowly tailored to achieve any such interest, and they fail to



29
  Notably, Plaintiffs challenge § 425.31(a) (including its physical-obstruction provision) in light
of its content- and viewpoint-based purpose and the legislative history and Committee Memo
expressly relying on Griepp I for its meaning, which invalidly found quintessential speech—
including holding a sign on an empty public sidewalk—to be “physical obstruction.” Plaintiffs
challenge § 425.31(d) (prohibiting conduct that places another in “reasonable fear of physical
harm, or attempt to do the same,” for similar reasons. But Plaintiffs do not challenge § 425.31(b)
prohibiting actually obstructive physical contact.
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leave open ample alternative channels for oral protest, education, or counseling, including the

offering of related literature, as the challenged measures preclude normal conversational

interaction and criminalize all “unwanted” speech without even an express demand that it cease.

       171. For the reasons already stated, and given the threat of criminal and civil liability,

Plaintiffs cannot communicate their message effectively:

       (a) within 100 feet from the entrances to the premises where they had previously

       exercised their First Amendment rights, by having to stand at least eight feet distant

       from those with whom they wish to converse quietly while offering literature;

       (b) within a 100-foot radius that falls immediately – in virtually all cases – within

       the overlaid 25-foot “no follow and harass” zone adjoining the clinic driveways

       and entrances of the premises which are the principal places of Plaintiffs’ encounter

       with the intended recipients of their message;

       (c) anywhere in the vicinity of the usual sites of their advocacy, given the ill-defined

       or undefined prohibitions of “hindering,” “stopping,” “preventing” or “interfering

       with,” “implied request to cease,” or even “attempts” to violate these vague

       prohibitions.

See Exhibit G and Exhibit H.

       172. Chapter 425 thus fails intermediate scrutiny of a time, place and manner restriction.

                                   Impermissible Overbreadth

       173. The challenged provisions of Chapter 425 are also facially overbroad, as well as

overbroad as applied to Plaintiffs’ activities, because their sweeping and overlapping speech

restrictions mean that “a substantial number of [Chapter 425’s] applications are unconstitutional,

judged in relation to any “legitimate sweep” of the statute. Americans for Prosperity Found. V.



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Bonta, 141 S. Ct. 2373, 2387, 210 L. Ed. 2d 716 (2021). See Ch. 425, §425.21 (a)-(d), (h)-(j) and

Ch. 425, § 425.31(a), (b)-(i)

       174. The challenged provisions of Chapter 425 are thus subject to strict scrutiny on

account of overbreadth, which they fail for lack of the required narrow tailoring. Id.

       175. Alternatively, both facially and as applied, Chapter 425 fails the rational basis test

because its draconian prohibition of certain categories of speech and expressive conduct—but not

others—within the aforesaid zones and prohibitions has no rational relation to any legitimate

government interest in securing access to abortion facilities as opposed to prohibiting the

“unwanted” speech of pro-life sidewalk advocates and counselors in particular—a patently

unconstitutional purpose.

                                        Non-Severability

       176. As the preceding allegations demonstrate, the challenged restrictions of Chapter 425,

including its vague and overbroad definitions, are so pervasive and interwoven into the statutory

scheme (e.g., “interfere with,” “physically obstruct or block,” “intimidate,” “harass”) that

severance is not possible and enforcement of the Chapter 425 in its entirety must be enjoined.

                                           COUNT II

                   VIOLATION OF THE DUE PROCESS CLAUSE
           OF THE FOURTEENTH AMENDMENT (VOID FOR VAGUENESS)
                                (42 U.S.C. § 1983)

       177. The Fourteenth Amendment’s guarantee that no state shall “deprive any person of

life, liberty, or property, without due process of law,” U.S. Const. amend. XIV, § 1, entitles a

person to be informed as to what a criminal statute commands or forbids.

       178. The challenged provisions of Chapter 425, both facially and as applied to Plaintiffs’

conduct, are void for vagueness in that its terms “harass,” “seriously annoying,” “follow,”



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“interfere with,” “deceptive means,” “prevent,” “hinder,” “implied request to cease,” and to “stop”

by “deceptive means or otherwise,” as well as the “presumption” that pro-life speech is unwanted

and thus subject to criminal prosecution unless “affirmatively” consented to, are not defined with

sufficient clarity to give the person of ordinary intelligence a reasonable opportunity to know what

is prohibited and subject to punishment as a crime.

       179. Chapter 425 is unconstitutionally vague not because of the possibility that it will

sometimes be difficult to determine whether the incriminating fact it establishes has been proven,

but rather the indeterminacy of precisely what that fact is. United States v. Williams, 553 U.S. 285,

306, 128 S. Ct. 1830, 1846, 170 L. Ed. 2d 650 (2008).

       180. Further, Chapter 425 invites arbitrary and discriminatory enforcement by delegating

unfettered discretion to policemen, judges, and juries, for resolution, on an ad hoc and subjective

basis, of claims that the person charged has been guilty of “harassment,” “seriously annoying”

speech, “following,” disregarding an alleged “implied request” to cease “unwanted” pro-life

speech, or used “deceptive” speech “or otherwise.” Grayned v. City of Rockford, 408 U.S. at 108–

09.

       181. Chapter 425’s vagueness also chills, and is chilling, Plaintiffs’ exercise of their First

Amendment right to freedom of speech and assembly because its uncertain meanings have

inevitably led them to steer clear of the areas in which they were free to exercise their rights until

the enactment of Chapter 425. Id.

       182. Because Chapter 425 reaches expression sheltered by the First Amendment, the void-

for-vagueness doctrine demands a greater degree of specificity of its operative terms than in other

contexts.




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        183. For the reasons stated in Count I, Chapter 425’s impermissible vagueness cannot

survive either strict or intermediate scrutiny.

        184. Alternatively, both facially and as applied, Chapter 425 fails the rational basis test

because its draconian prohibitions of certain categories of speech—but not others—has no rational

relation to any legitimate government interest in securing access to abortion facilities as opposed

to prohibiting the “unwanted” speech of pro-life sidewalk advocates and counselors in particular—

a patently unconstitutional purpose.

                                     COUNT III
                        VIOLATION OF THE FIRSTAMENDMENT –
                            FREE EXERCISE OF RELIGION
                                    (42 U.S.C. § 1983)

        185. Plaintiffs hereby reallege and adopt each and every allegation in the preceding

paragraphs as if fully set forth herein.

        186. The Free Exercise Clause of the First Amendment to the United States Constitution,as

applied to the states by the Fourteenth Amendment, prohibits the State from abridging Plaintiffs’

rights to free exercise of religion.

        187. Plaintiffs have sincerely held religious beliefs that compel them to engage in sidewalk

advocacy and counseling against abortion.

        188. Chapter 425, on its face and as applied, targets Plaintiffs’ sincerely held religious

beliefs by effectively prohibiting their sidewalk counseling against abortion, for the reasons

already stated.

        189. Chapter 425 is not a neutral law of general application, but rather is clearly designed

to target and effectively prohibit religiously motivated conduct in opposition to abortion while

leaving untouched comparable secular conduct including: any conversation at all not involving

“oral protest, education, or counseling” against abortion, motivated by religion, but simply


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approving of abortion (e.g. “Abortion is a right!”); small talk about non-controversial topics;

commercial speech of all kinds, and so forth. None of those conversations and interactions require

the speaker to remain eight feet away from the hearer, obtain consent to approach the hearer, or

cease speaking whenever the hearer, even “implicitly”, demands it.

       190. Chapter 425 also fails the required strict scrutiny because it does not serve a

compelling governmental interest, nor is it narrowly tailored to serve that interest by the least

restrictive means available, for the reasons described above.

       191. Alternatively, both facially and as applied, Chapter 425 fails the rational basis test

because its draconian prohibition of certain categories of speech—but not others—has no rational

relation to any legitimate government interest in securing access to abortion facilities as opposed

to prohibiting the “unwanted” speech of pro-life sidewalk advocates and counselors in particular—

a patently unconstitutional purpose.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray for relief as follows as to all Counts:

       (A) A temporary restraining order and/or preliminary injunction, followed by a

             permanent injunction, restraining and enjoining the Defendants, their officers,

             agents, employees, attorneys and successors in office, and all other persons

             in active concert or participation with them, from enforcing, threatening to

             enforce, attempting to enforce, or otherwise requiring compliance with,

             Chapter 425 in its entirety and/or each of its unconstitutional provisions on

             their face and/or as applied, including § 425.31(a), (c), (d), (e), (f), (g), (h),

             and (i) and the incorporated defined terms.




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      (B) A declaratory judgment declaring that Chapter 425 and its aforesaid

            provisions, on their face and/or as applied to these Plaintiffs’ activities, are

            unconstitutional, unlawful, and unenforceable.

      (C) An award of nominal damages of ONE DOLLAR ($1.00).

      (D) An award of reasonable costs and expenses of this action, including a

            reasonable attorney’s fee, in accordance with 42 U.S.C. § 1988.

      (E) Such other and further relief as the Court deems equitable and just under the

            circumstances.

Dated: August 15, 2022

                                             Respectfully submitted,




,                                            __________________________________
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                                             * Pro hac vice application to be submitted




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                                         VERIFICATION


         I, JANE DOE, am over the age of 18 and am a Plaintiff in this action. The allegations that

pertain to me in this VERlFIED COMPLAINT are true and correct, based upon my personal

knowledge (unless otherwise indicated), and if called upon to testify as to their truthfulness, I

would and could do so competently. I declare under penalty of perjury, under the laws of the United

States, that the foregoing statements are true and correct.

Dated:    ~ (5/                ?.Ov'v




                                         VERIFICATION


         I, SALLY ROE am over the age of 18 and am a Plaintiff in this action. The allegations

that pertain to me in this VERIFIED COMPLAINT are true and correct, based upon my personal

knowledge (unless otherwise indicated), and if called upon to testify as to their truthfulness, I

would and could do so competently. I declare under penalty of perjury, under the laws of the

United States, that the foregoing statements are true and c9rrect.




                                                      S~lly Ro




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